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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF ALABAMA
                      NORTHWESTERN DIVISION

RICHARD S. BYRD,                           *
                                           *
            Plaintiff,                     *        Case No. 3:19-cv-398-CLS
      v.                                   *
                                           *
FORD MOTOR COMPANY,                        *
                                           *
             Defendant.                    *

                PLAINTIFF’S FIRST AMENDED COMPLAINT

                                    THE PARTIES

      1.     Plaintiff Richard Byrd, (“Plaintiff”) is an individual resident and citizen

of Lauderdale County, Alabama.

      2.     Defendant, Ford Motor Company (“Ford”) on information and belief is

a Delaware corporation doing business in Lauderdale County, Alabama.

      3.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332

(diversity jurisdiction).

      4.     The venue is proper under 28 U.S.C. § 1409 because the events giving

rise to Plaintiff’s cause of action occurred in this District.

                               FACTUAL ALLEGATIONS

      5.     This case arises out of fraud and misrepresentation regarding the quality


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and design of a motor vehicle purchased by Plaintiff herein.

      6.         With the 2011 model year, Ford introduced a new 6.7-liter “Power

Stroke” diesel engine used in both the model F-250 and the F-350 Pick Up Trucks.

Ford claimed that the new engine enabled “a remarkable reduction” in emissions and

fuel consumption.

      7.         Before the 2011 model year, Ford used Navistar diesel engines. The

new diesel engine, manufactured by Ford, uses a “CP4” fuel injection system and

fuel pump manufactured by Bosch, a European company.

      8.         These vehicles were heavily marketed on the internet and otherwise and

in a 2010 press release Ford stated:

                 Multifaceted marketing campaign begins on the Internet

      Truck customers increasingly rely on social media for technical
      information and networking, according to Ford research. In fact, more
      than 15,000 Super Duty conversations take place a month on forums
      such as powerstroke.org, dieselstop.com and www.ford-trucks.com.
      Furthermore, the top 10 Ford Super Duty enthusiast sites rival the
      membership of the top 10 sites dedicated to Ford Mustang, America’s
      most popular muscle car. With these numbers in mind, Ford last
      September gave truck customers in-depth technical information about
      the new Super Duty at www.fordvehicles.com/2011superduty, a full
      seven months before the truck launched. 1

      9.         The campaign was successful, and in June of 2010 Ford issued another

press release stating in part:


      1
          The full press release is attached as Exhibit 1 and incorporated by reference.
                                                              2
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      In May, for the second month in a row, sales of the all-new Super Duty
      more than doubled Ford’s heavy-duty truck sales objective; Ford owns
      about 60 percent of the feet and commercial sales market, and fleet sales
      were up 32 percent in May[.]2
      10.         On February 25, 2010, Ford published a press release with the

headline, “2011 Ford F-Series Super Duty Leads Heavy-Duty Trucks in Capability,

Now Fuel Economy, Too[.]” The press release went on to represent the following:

      The strict testing work also ensured the new engine is B20 compatible,
      which allows customers another fueling option that uses blends of up
      to 20 percent biodiesel and 80 percent petroleum diesel. Because
      biodiesel fuel varies in quality in the U.S. and Canada, durability testing
      cycles were run on multiple blends of the fuel to ensure the robustness
      of the system. This is especially important to the agricultural industry,
      where biodiesel is often the preferred fuel.3

      11.        Ford also stated, in the same press release, that the vehicles were the

“cleanest Super Duty diesel ever” with “best-in-class fuel economy” and using a

unique combustion system to meet state and federal emissions requirements.

      12.        Finally Ford represented that the vehicles were compatible with

American diesel fuel and in a March 9, 2010 press release stated: “[The 2011 Ford

F-Series Super Duty Power Stroke Diesel is Cleanest Ever; Fuel Economy Greatly

Improved[.]”, and “The new diesel engine is B20 biodiesel compatible, and the new




      2
          Exhibit 2 is attached as and incorporated by reference.
      3
          Exhibit 3 is attached as and incorporated by reference.
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gas engine is E85 compatible, providing customers a wide range of fueling

options[.]” 4

       13.        As shown above, these vehicles were marketed from 2010 to the present

as environmentally-friendly trucks that combined high fuel efficiency and

performance with very low emissions.

       14.        However, Ford lied to both consumers and regulators because in real-

world use the diesel engines emitted Nitrogen Oxide (NOX) and other pollutants

over lawful amounts.

       15.        Moreover, the trucks were sold with fuel pumps and injection systems

that Ford knew were incompatible with American diesel fuels.

       16.        The “Diesel supplement” to the owner’s manual for Plaintiff’s vehicle

cautions owners that:

       You should use Ultra-Low Sulfur Diesel fuel (also known as ULSD)
       designated as number 1-D or 2-D with a maximum of 15-ppm sulfur in
       your diesel vehicle. You may operate your vehicle on diesel fuels
       containing up to 20% biodiesel, also known as B20. These fuels should
       meet the ASTM D975 diesel or the ASTM D7467 B6-B20 biodiesel
       industry specifications. Outside of North America, use fuels meeting
       EN590 or equivalent local market standard.

       17.        This is because applicable U.S. regulations and rules require the use of

Ultra Low Sulfur Diesel (“ULSD”). ULSD is diesel fuel that contains no more than



       4
           Exhibit 4 is attached as and incorporated by reference.
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15 parts per million of sulfur.

      18.        The refining process used in the U.S. results in an exceptionally “dry”

form of diesel fuel which does not supply sufficient lubrication for the fuel pumps,

and this was known to Ford at all applicable times.

      19.        In Ford’s sales brochure it was represented to Plaintiff and others that

the Power Stroke engines were compatible with “Ultra-low-sulfur diesel or B20

(containing 20% or less biodiesel)[.]”5.

      20.        On information and belief, the “CP4” fuel injection system and fuel

pump are defective, and at all relevant times, Ford knew they were inadequate

because they were made to European standards. European diesel fuel is formulated

differently and is a much better lubricant.

      21.        The lack of proper lubrication causes, among other things, the fuel

pumps to wear out prematurely often causing fuel system and engine damage.

                                     Plaintiff’s Purchase

      22.        During October of 2013 Plaintiff was shopping for a new vehicle.

      23.        Plaintiff had seen Ford’s television commercials, internet and other

advertisements, including sales brochures, touting the quality, superiority, and utility

of the Ford Super Duty Pickup trucks.



      5
          See Exhibit 5 at page 4.
                                                 5
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      24.     According to Ford, the Super Duty Trucks were “built Ford tough”, and

had superior horsepower, reliability and durability compared to other trucks in the

American market.

      25.     Also, Ford stated in its sales brochure, “This B20-capable engine is the

most tested Power Stroke diesel ever, having proven itself in over 10 million miles

of cumulative testing and real-world use under extreme conditions.” Id.

      26.     Relying on Ford’s advertising and other representations, on or about

October 17, 2013, Plaintiff entered into a Motor Vehicle Purchase Contract with

Long-Lewis Of The Shoals for the purchase of a 2014 Ford F-250 Super Duty, VIN

1FT7W2BT7EEA51389 (hereinafter referred to as the “Ford” or “vehicle”).

      27.     The vehicle was equipped with a 6.7-liter Power Stroke diesel engine.

      28.     The purchase price was approximately $59,225.20.

      29.     As part of its fraud and scheme, Ford charged a premium price for

vehicles with the “Power Stroke” diesel engine.

      30.     The Ford’s representations herein are material because Plaintiff could

have purchased a gasoline-powered truck for much less but, relying on

representations made by Ford, paid a premium price for a vehicle with the diesel

engine.

      31.     The representations by Ford that the engine was environmentally

friendly and a “clean diesel” were false and at all relevant times, Ford knew they
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were false.

      32.     The reduction of emissions from the “Power Stroke” engines only

occurred when the vehicle operated in the conditions present in an emissions testing

environment. With day-to-day use outside of a testing environment, the vehicles

polluted heavily.

      33.     In addition, Ford understood that American diesel fuel did not correctly

lubricate the diesel fuel pumps but continued to use them in vehicles like the

plaintiff’s regardless.

      34.     The average cost for a Ford F-250 Super Duty diesel injection pump

is, on information and belief, between $1,577 and $2,465.

      35.     Plaintiff has replaced the fuel pump in the vehicle at issue on two

separate occasions.

      36.     Plaintiff was damaged by the loss of use of the truck and out of pocket

expenses because of the failure of the defective fuel pumps.

                              PATTERN AND PRACTICE

      37.     Ford F-250 and F-350 Super Duty vehicles with diesel engines

manufactured from 2011 to 2017 produce emissions above the required legal

standards. In addition, Ford sold these vehicles with defective or out of specification

fuel pumps.

      38.     These vehicles were defective as stated herein, and Plaintiff has
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suffered damages for Ford’s breach of warranty and misrepresentation such as loss

of money, loss of use of the vehicle, premature deprecation, loss of value, loss of

time, aggravation and mental anguish.

         39.      The statute of limitations is tolled as to Plaintiff’s emissions claims, due

to the commencement of a nationwide class action, based on same or similar

allegations, Len Gamboa, et. al. v. Ford Motor Company, et. al. Case 18-cv-10106

filed 01/10/2018, filed in the Eastern District of Michigan. See American Pipe &

Construction Co v. State of Utah, 414 U.S. 538.

         40.      The statute of limitations is also tolled as to Plaintiff’s defective fuel

pump claims, due to the commencement of another nationwide class action, based

on same or similar allegations, Nunez et. al. v. Ford Motor Company Case No. 1:18-

cv-25211-UU, presently pending in the Southern District of Florida. 6

         41.      Plaintiff relied on representations contained in Ford’s media advertising

and printed material when making the decision to purchase the vehicle at issue.

         42.      If Plaintiff had known about these defects at the time of sale, Plaintiff

would not have purchased the vehicle or would have paid less for it.

         43.      Based on Ford’s omissions and/or misrepresentations, Plaintiff suffered




         6
           A motion to transfer the Nunez class action to the Northern District of California Pursuant to 28 U.S.C. §
1407 for Coordinated or Consolidated Pretrial Proceedings, was filed with the Judicial Panel on Multidistrict Litigation
on August 21, 2019.
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a loss of money, property and/or value of their vehicle, including but not limited to,

out of pocket costs.

      44.     Plaintiff’s purchase of the vehicle was accompanied by express

warranties offered by Ford and extending to the Plaintiff.

      45.     These warranties were part of the basis of the bargain of Plaintiff’s

contract for the purchase of the vehicle.

      46.     The basic warranty covered any repairs or replacements needed during

the warranty period due to defects in factory materials or workmanship. All warranty

repairs and adjustments, including parts and labor, were to be made at no charge.

Additional warranties were set forth in the warranty guide and the Ford owner’s

manual.

      47.     Although the emissions control and fuel pump were the major problems

with the vehicle Plaintiff has had numerous other problems with the vehicle resulting

in loss of use of the vehicle, lost time, loss of money and aggravation.

      48.     Ford’s brochures represented that the Super Duty has “best-in-class

towing capabilities,” but suppressed the fact that this capability was made possible

by software that turned down emission controls.

      49.     The representations by Ford that the engine was environmentally-

friendly and a “clean diesel” were false and at all relevant times Ford knew they

were false.
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      50.    Plaintiff could have purchased a model comparable gasoline-powered

vehicle for approximately $10,000 less, but instead paid an inflated price for the

“clean diesel” with a known fuel system problem.

                                   COUNT ONE
                                     FRAUD

      51.    Plaintiff realleges and adopts all of the foregoing relevant paragraphs

contained in this Complaint.

      52.    This action is brought pursuant to the Code of Alabama, 1975, § 6-5-

100, 6-5-101, and other applicable law.

      53.    The vehicle was defective as described above.

      54.    Ford was aware of the defects of said vehicle and failed or refused to

correct said defects before it was offered for sale to the public

      55.    Said representations regarding the quality of the vehicle and the Power

Stroke Engine specifically were false and Ford knew they were false. Ford

intentionally suppressed the fact that the vehicle had numerous serious defects as

stated herein.

      56.    Plaintiff believed Ford’s representations, reasonably relied on them and

innocently acted upon them by purchasing the vehicle.

      57.    As a proximate result of said representations made by Ford, Plaintiff

was caused to suffer injuries and damages.

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      WHEREFORE, Plaintiff demands judgment against Ford as follows:

                    a.    Compensatory and Consequential damages;

                    b.    Punitive damages;

                    c.    Reasonable attorney’s fees;

                    d.    Costs of this action;

                    e.    Whatever further and different legal and/or equitable relief

             to which the Plaintiff may be entitled in this cause.

                                COUNT TWO
                         FRAUD IN THE INDUCEMENT

      58.    Plaintiff realleges and adopts all of the foregoing relevant paragraphs

contained in this Complaint.

      59.    Ford represented to Plaintiff that said vehicle made the subject of this

action would be delivered free from defects and if there were defects, the said defects

would be promptly repaired.

      60.    In fact, the vehicle was not free from defects and was not fit for its

ordinary and particular uses.

      61.    The representations above, which were made to Plaintiff, were, in fact,

false and fraudulent. Said representations made by Ford induced the purchase said

vehicle.

      WHEREFORE, Plaintiff demands judgment against the defendant, Ford, for

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actual and punitive damages, separately and severally, in an amount in excess of the

jurisdictional requirements of this court, plus costs and interest.

                              COUNT THREE
                       BREACH OF EXPRESS WARRANTY

      62.    Plaintiff realleges and adopts all the foregoing relevant paragraphs

contained in this Complaint.

      63.    Ford represented and warranted to Plaintiff that said vehicle purchased

was free of defects. It was further represented to Plaintiff that if any defects were

discovered that the same would be promptly corrected.

      64.     After purchasing said, vehicle Plaintiff discovered the defects as stated

which render the vehicle unsafe and less valuable.

      65.    Plaintiff alleges that there are other numerous defects not listed above.

      WHEREFORE, Plaintiff demands judgment against the defendant, Ford, as

follows:

                    a.     Compensatory punitive damages;

                    b.     Consequential damages;

                    c.     Reasonable attorney’s fees pursuant to Ala. Code 1975 §

             8-20-8;

                    d.     Costs of this action; and

                    e.     Whatever further and different legal and/or equitable relief

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             to which the Plaintiff may be entitled in this cause.

                              COUNT FOUR
                      BREACH OF IMPLIED WARRANTY

      66.    Plaintiff realleges and adopts the relevant foregoing paragraphs in this

Complaint.

      67.    At the time of the Plaintiff’s purchase, Defendant expressly warranted

and warranted by implication the vehicle was free from defects and was fit for its

ordinary and particular uses or if there were defects, that the same would be promptly

repaired to the Plaintiff’s satisfaction.

      68.    The total cash price of the said vehicle at issue in the cause was

$59,225.20 and Plaintiff found that the said vehicle was defective as stated above.

      69.    Plaintiff further avers that the defendant, Ford, has been notified of the

existence of said defects. Plaintiff was promised that the defects would be repaired,

but the defendant, Ford, failed and/or refused to correct said defects.

      WHEREFORE, Plaintiff demands judgment against the defendant, Ford, as

follows:

                    a.     Compensatory and punitive damages;

                    b.     Consequential damages;

                    c.     Reasonable attorney’s fees;

                    d.     Costs of this action; and

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                   e.     Whatever further and different legal and/or equitable relief

                   to which the Plaintiff may be entitled in this cause.

                             COUNT FIVE
            VIOLATION OF MAGNUSON-MOSS WARRANTY ACT
                        (15 U.S.C. § 2301, et seq.)

      70.    Plaintiff incorporates by reference the relevant prior allegations as

though here fully realleged.

      71.    Plaintiff is a “consumer” as defined in the Magnuson-Moss Warranty

Act (hereinafter referred to as the “Warranty Act”), 15 U.S.C. § 2301(3).

      72.    The manufacturer, Ford, is a “seller” and “warrantor” as defined by the

Warranty Act, 15 U.S.C. § 2301(4), (5).

      73.    The vehicle in question is a “consumer product” as defined in the

Warranty Act, 15 U.S.C. § 2301(1).

      74.    The vehicle in question was manufactured and sold after July 4, 1975.

      75.    The express warranties given by Manufacturer and/or required by

statute to be given by the Manufacturer, pertaining to the vehicle are “written

warranties” as defined in the Warranty Act, 15 U.S.C. § 2301(6).

      76.    That this sales transaction is subject to the provisions and regulations

of the Magnuson-Moss Warranty Act (15 U.S.C. § 2301, et seq).

      77.    The above-described actions including but not limited to, the failure of

Defendant to honor the warranty constitute a breach of the written warranties and
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the Warranty Act.

      WHEREFORE, Plaintiff is entitled to recovery of all monies paid on the

vehicle and to damages in the form of all out-of-pocket expenses and all other

damages, including exemplary and consequential damages as determined by the

truer of fact, together with all costs and actual reasonable attorney fees as provided

for by statute and for whatever other legal and equitable relief the Court may deem

proper.

      DATED this the ___ day of September 2019.

                                       /s/ Earl P. Underwood, Jr.
                                       EARL P. UNDERWOOD, JR. (UND008)


      UNDERWOOD & RIEMER, PC
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      epunderwood@alalaw.com


PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY OF THE ISSUES IN

THIS CASE.

                                       /s/ Earl P. Underwood, Jr.




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2011 FORD SUPER DUTY MARKETING DEMONSTRATES TRUCK’S CLASS-LEADING
CAPABILITY, FUEL ECONOMY
      Bold new marketing campaign for all-new 2011 Ford F-Series Super Duty begins w ith Webisodes,
                                                                                                                    A bold, new marketing campaign for the 2011
      online chats, television and print ads all demonstrating class-leading tow ing and payload capability,
                                                                                                                     Ford F-Series Super Duty shifts in high gear
      fuel economy and productivity
                                                                                                                   with multi-media advertising -- including this print
      Ford unveiled its new Super Duty marketing campaign at the grand opening of Toby Keith’s I Love This
                                                                                                                   ad -- aimed squarely at Super Duty customers.
      Bar & Grill in Auburn Hills, Mich.
      2011 Ford Super Duty, w ith Ford-engineered, Ford-built 6.7-liter Pow er Stroke® diesel and all-new
      6.2-liter gas engine, is arriving in U.S. dealerships now

AUBURN HILLS, Mich., April 7, 2010 – Ford today kicked into high gear its advertising and marketing campaign for the all-new 2011 Ford F-Series Super
Duty at a preview of Web and TV spots at the grand opening of Toby Keith’s I Love This Bar and Grill.

Timed w ith the arrival of new Super Duty trucks in U.S. and Canadian dealerships, the multifaceted marketing campaign demonstrates the truck’s class-
leading tow ing and payload capability, fuel economy and productivity against the competition.

The campaign includes a series of new Webisodes, w hich go live today, featuring Dirty Jobs’ Mike Row e. Television spots narrated by entertainer Denis
Leary w ill begin in mid-April. And partnerships w ith stars such as Toby Keith kick off this summer w hen Ford sponsors Keith’s 2010 America’s Toughest
Tour.

“Fundamental to the new Super Duty marketing initiative is Ford’s intimate know ledge of the truck customer,” said Doug Scott, Ford Truck Group Marketing
manager.

“Our customers are huge Toby Keith fans, they enjoy a w ide array of sports, and they use their trucks for all sorts of w ork – from home repair projects
to major industrial commercial w ork,” he said. “Our deep understanding of this customer guides everything w e do, from engineering to marketing and
advertising.”

Multifaceted m arketing cam paign begins on the Internet
Truck customers increasingly rely on social media for technical information and netw orking, according to Ford research. In fact, more than 15,000 Super
Duty conversations take place a month on forums such as pow erstroke.org, dieselstop.com and w w w.ford-trucks.com. Furthermore, the top 10 Ford
Super Duty enthusiast sites rival the membership of the top 10 sites dedicated to Ford Mustang, America’s most popular muscle car.

With these numbers in mind, Ford last September gave truck customers in-depth technical information about the new Super Duty at
w w w.fordvehicles.com/2011superduty, a full seven months before the truck launched.

“We w anted to make sure the Super Duty customer had access to all new information about the truck, including w hat w ent on behind the scenes,” said
Eric Peterson, Ford Truck Communications manager. “We show ed them how our engineers and our fleet customers tested the new Pow er Stroke diesel.
Now, w e’re show ing them how the truck performs against the competition.”

The first set of Webisodes, released last fall, demonstrated the engineering expertise and extreme testing that w ent into building Super Duty’s new 6.7-
liter Pow er Stroke diesel engine, w hich delivers best-in-class horsepow er, torque and fuel economy. The second set, w hich w ent live in February,
featured fleet customers in Wyoming, Florida and Texas driving preproduction trucks on their job sites in severe w eather and extreme off-road
conditions.

Now, w ith the third series of Webisodes, titled “Head to Head,” the new Super Duty goes head-to-head against the Dodge Ram HD and Chevrolet
Silverado HD in exercises that matter most to customers – tow ing confidence, tow ing capability and fuel economy. TV’s Mike Row e and Super Duty Chief
Engineer Chris Brew er host the three segments.

Additionally, Brew er and members of his engineering team have been holding online chats w ith customers on sites such as w w w.thefordstory.com and
w w w.ford-trucks.com.

“Our customers w ant real, unfiltered access and that’s w hat w e’re providing – unprecedented access to our engineers and insight into the team that built
the Super Duty and its new pow ertrain,” said Peterson. “Instead of having other people speculate about w hat the answ ers are, w e w anted to have our
Ford engineers engaged in the conversations.”

A “buzz” section on the Super Duty Web site includes links to some of the most relevant information being discussed on the Internet.

Super Duty television and print ads: Straight to the point
The television ads for Super Duty represent a distinct evolution of the F-150 “rant” campaign – straightforw ard, no-nonsense and a proven success,
according to Eric Sw anson, vice president and account director for Nielsen Automotive, the w orld’s leading marketing and media information company.

“When the rant campaign first launched for the 2009 F-150, it w as recognized by Nielsen as one of the Top Ten Most Liked ads,” Sw anson said.
“View ers told us the ads are informative and clever and have shifted their opinion in a positive direction, not only for the truck but for the Ford brand in
ophelia.sdsu.edu:8080/ford/06-05-2010/about-ford/news-announcements/press-releases/press-releases-detail/pr-2011-ford-super-duty-marketing-32368@view=…               1/2
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general.”

Rant is aimed squarely at core truck buyers. The ads w ill begin airing in mid-April during programming w atched regularly by Super Duty customers, such
as NASCAR, NBA, NHL and Major League Baseball.

Three television spots place the truck in a distinctive black-and-w hite setting and focus on Super Duty’s new pow ertrain as w ell as its tow ing capability
and confidence and fuel economy leadership.

The print ads also are direct and to the point. Five ads highlight the same capability themes and w ill run in print publications that appeal to the interests and
vocations of the Super Duty customer, such as Sports Illustrated, Field & Stream, Popular Science and Builder.

Building engagem ent through targeted alliances
In addition to Web, print and TV ads, the Super Duty marketing campaign includes a strong emphasis on communicating w ith existing ow ners through
sponsorships and alliance partnerships.

Ford F-Series’ longtime alliances w ith key events and organizations help Ford connect in a personal w ay to customers’ recreational and vocational
interests.

In addition to sponsoring Toby Keith’s concert tours, Ford alliance partnerships include organizations such as Monster Jam, Professional Bull Riders,
Future Farmers of America, the American Quarter Horse Association and the Dallas Cow boys.

“Our alliances are another w ay in w hich w e continue to develop deeper and long-lasting relationships w ith our truck customers,” said Scott.

2011 F-Series Super Duty: Legacy continues for Am erica’s prem ier w ork truck
Ford’s F-Series has been the best-selling line of trucks in the U.S. for 33 straight years and in Canada for 44 years. With class-leading torque,
horsepow er, fuel economy and tow ing and payload capability, the new Super Duty further underscores its Built Ford Tough legacy.

For 2011, Super Duty features both all-new diesel and gasoline engines mated to a new TorqShift six-speed transmission. The new 6.7-liter Pow er
Stroke V-8 turbocharged diesel w as designed, engineered and built by Ford engineers dedicated solely to delivering this class-leading diesel to the next-
generation Super Duty to enable best-in-class tow ing, payload and fuel economy.

The new Pow er Stroke pumps out a best-in-class 735 ft.-lb. of torque at 1,600 rpm and 390 horsepow er at 2,800 rpm, enabling the 2011 Super Duty’s
class-leading tow ing capability of 24,400 pounds. The 2011 Super Duty also has class-leading payload capability of 6,520 pounds.

The 2011 Super Duty is on sale now at Ford dealerships in the United States and Canada.

                                                                              ###

About Ford M otor Company
Ford Motor Company, a global automotive industry leader based in Dearborn, Mich., manufactures or distributes automobiles across six continents.
With about 198,000 employees and about 90 plants worldwide, the company’s automotive brands include Ford, Lincoln, Mercury and, until its sale,
Volvo. The company provides financial services through Ford Motor Credit Company. For more information regarding Ford’s products, please visit
www.ford.com.


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Ford Super Duty Customer Testing
Extended; More Power, Fuel Economy
Reported

NEWS PROVIDED BY
Ford Motor Company 
Jun 25, 2010, 09:00 ET




DEARBORN, Mich., June 25 /PRNewswire-FirstCall/ --


       Based on customer demand, an unprecedented testing program of 2011 Ford F-Series
       Super Duty diesel trucks is being extended as commercial customers push the
       preproduction trucks to their limits


       Two Texas-based companies, Reynolds Asphalt & Construction and TexOp Construction,
       are using their trucks through the busy road-construction season and into winter for a year's
       worth of severe-duty testing; Florida Power & Light Company is working its trucks in
       challenging environments that include the swamps of the Florida Everglades; those four
       trucks have racked up an average of nearly 22,000 miles since the testing program began
       late last year


       Customers report signi cantly increased fuel economy – up to 25 percent over the truck it
       replaced depending on use


       In May, for the second month in a row, sales of the all-new Super Duty more than doubled
       Ford's heavy-duty truck sales objective; Ford owns about 60 percent of the eet and
       commercial sales market, and eet sales were up 32 percent in May


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The new 2011 Ford F-Series Super Duty is tting in so well on the job that it's being asked to stick
around longer. Based on customer requests, Ford Motor Company is extending its
unprecedented Ford F-Series Super Duty eldwork evaluation program through the end of 2010
to select extreme-duty commercial customers. That means these preproduction Super Duty
models will have earned their keep for a full year in some of the toughest work environments
around.


The overwhelmingly positive feedback from these severe-duty users – and their desire to extend
the program – con rms the thoroughness of the rigorous testing procedures developed for the
2011 Super Duty as it evolved from raw data to computer images to actual vehicle.


"We tested the 2011 Super Duty in every situation imaginable throughout the development
process, but nothing can replace these real-world scenarios," said Chris Brewer, chief engineer of
the 2011 Super Duty.


In Texas, for example, two businesses are working their 2011 Super Duty trucks to the extreme
during the busy road-construction season. Both Reynolds Asphalt & Construction Co. of Euless
and TexOp Construction of Roanoke have evaluation trucks equipped with the new 6.7-liter
Power Stroke® V-8 turbocharged diesel engine and the 6R140 heavy-duty TorqShift™ six-speed
automatic transmission.


The vehicles used by Florida Power & Light Company are driven all around the Sunshine State,
on-road and off-road, often traveling up to 600 miles a day. They also power through swampy
terrain in the Florida Everglades or bull across inaccessible roads to get power back online and
respond to other customer needs.


Outstanding fuel economy while standing up to harsh conditions


Reynolds Asphalt has a 2011 Super Duty F-550 4x2 dual rear-wheel chassis cab up tted with a
mechanic's bed to use as a service truck for the company's heavy-duty equipment. Essentially a
garage on wheels, it services rollers, pavers and other support equipment. The F-550 chassis cab,
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a crane body to expedite repairs.


The Live Drive PTO output gear is linked through the torque converter to the engine crankshaft.
The power is available any time the engine is running, with the vehicle moving as well as
stationary.


"The 2011 Super Duty is a big key to boosting productivity because we can use it to get to
locations not easily accessible and get equipment repaired," said George White, equipment
manager of Reynolds Asphalt.


The total weight of added equipment approaches the maximum payload limits of the class-
leading 19,500-pound GVWR (gross vehicle weight rating) of the F-550 truck.


"We de nitely have it loaded down, but the fuel mileage has been excellent – about a 20 to 25
percent improvement in highway situations over the truck it replaced," said White.


The work will get even tougher in the coming months, as Texas already has seen 100-degree
temperatures.


TexOp truck busy day and night


TexOp Construction is working a 2011 Super Duty F-350 4x4 Crew Cab XL dual rear-wheel pickup
out tted with toolboxes to assist with maintenance. It also tows Bobcats and other equipment
on a double-axle tandem gooseneck trailer to job sites.


"This truck has a lot more power and better mileage," said Richard Webb, equipment and
construction manager for TexOp Construction. "The throttle response and acceleration are
outstanding. We're glad to have it during this upcoming busy season."


The Super Duty F-350 is used on the highway and off-road in about a 50-50 split. "We have to
drive it on basically what's going to be the base of the road, which can be slick mud," said Webb.
"It's kind of an obstacle course, really."

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and hauling hay and ranch equipment.


Florida Power & Light trucks ready at a moment's notice


Florida Power & Light Company employs a 2011 Ford F-250 Super Duty XL Super Cab 4x4 and an
F-250 XLT Crew Cab 4x2. The 4x2 truck is used for towing about 20 percent of the time with the
4x4 truck towing and/or off-road about 80 percent of the time.


The main use of the truck is to keep underground – and underwater – power cables online. This
entails driving all around Florida's highways and "off the beaten path" to areas inaccessible to
most vehicles.


"In our business, we need a truck that delivers outstanding fuel economy on the highway and
also is capable of tackling the wetlands, swamps and ditches," said Ray Haering, acquisition
specialist for Florida Power & Light. "Our Super Duty pickups have been outstanding meeting
those needs."


The new 6.7-liter Power Stroke V-8 turbocharged diesel engine is signi cantly quieter than the
outgoing product, which makes using the available hands-free SYNC® system that much easier –
and more productive.


"Before, you literally had to pull over and shut off the engine to talk," said Joe Heatherly, Florida
Power & Light driver. "This new engine is so much quieter, and with the SYNC system, we're now
much more productive.


"We can stay on the road and conduct business, stay in contact with the of ce or contractors or
customers – all without driver distraction. We run up 3,000 or 4,000 minutes a month on our
phones, so this has been a tremendous time saver and a huge bene t and more valuable than I
would have imagined."


The towing capability of the new Super Duty has been put to the test by both a 9,000-pound
long-bed trailer that tows a 26-foot boat that aids in service efforts and an enclosed box trailer.

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nothing back there – it's that easy," said Heatherly.


Heatherly has been impressed with the new diesel's power and fuel economy as well as the new
Super Duty's off-road capability – even with his two-wheel-drive truck.


"The off-road performance has been close to what you might expect with a four-wheel-drive
truck. I was shocked," said Heatherly.


Florida Power & Light also regularly takes advantage of the new Super Duty's increased biodiesel
capability. The new diesel engine is B20 compatible, which allows customers an additional
fueling option that uses blends of up to 20 percent biodiesel and 80 percent petroleum diesel.
This option is increasingly important to companies looking to "green" their eets.


"Because of the extensive development work done with the 2011 Super Duty, especially with the
new diesel engine, we had every con dence that even preproduction examples would be
outstanding performers," said Doug Scott, Ford Truck marketing manager. "With these trucks
delivering outstanding capability and fuel economy, it's understandable why these businesses
want to keep them on the team as long as possible."


About Ford Motor Company


Ford Motor Company (NYSE: F), a global automotive industry leader based in Dearborn, Mich.,
manufactures or distributes automobiles across six continents. With about 176,000
employees and about 80 plants worldwide, the company's automotive brands include Ford,
Lincoln and Mercury, production of which has been announced by the company to be
ending in the fourth quarter of 2010, and, until its sale, Volvo. The company provides nancial
services through Ford Motor Credit Company. For more information regarding Ford's
products, please visit www.ford.com.


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         2011 FORD F-SERIES SUPER DUTY LEADS HEAVY-DUTY TRUCKS IN CAPABILITY,
         NOW FUEL ECONOMY, TOO
               The most capable heavy-duty pickup in America – the Ford F-Series Super Duty – also is the
                                                                                                                               2011 F-Series Super Duty
               most powerful and fuel efficient for the 2011 model year, offering customers their choice of either
               gas or diesel engines
               Fuel economy on the all-new 2011 Ford F-Series Super Duty equipped with the 6.7-liter Power Stroke® V-8 diesel engine averages an 18
               percent improvement for pickup models and up to 25 percent improvement for chassis cabs versus 2010 models. Trucks equipped with new
               base 6.2-liter V-8 gas engines average a 15 percent improvement versus 2010 models
               The all-new Ford-engineered, Ford-designed, Ford-built 6.7-liter Power Stroke V-8 turbocharged diesel engine has best-in-class torque of 735
               ft.-lb. (at 1,600 rpm) and best-in-class 390 horsepower (at 2,800 rpm) – 85 ft.-lb. and 40 horsepower more than the outgoing model – with
               best-in-class fuel economy; new engine is B20 biodiesel compatible, too
               All-new 6.2-liter V-8 gas engine is also best-in-class with 385 horsepower and 405 ft.-lb. of torque – 85 more horsepower and 40 ft.-lb. of
               torque more than the current 5.4-liter V-8 gas engine. It also delivers class-leading fuel economy and E85 compatibility
               All-new powertrains are the backbone of the new 2011 F-Series Super Duty, which has class-leading towing capability of 26,400 pounds on
               chassis cabs, 24,400 pounds on pickups; best-in-class payload capability of 12,711 pounds on chassis cabs, 6,520 pounds on pickups

         2011 FORD F-SERIES SUPER DUTY MEDIA SITE

         DEARBORN, Mich., Feb. 25, 2010 – The new 2011 Ford F-Series Super Duty delivers the most heavy-duty truck horsepower. Top torque. Industry-
         best towing capability and payload. Fuel economy leadership. In short, the new Super Duty delivers leadership in every feature that matters to
         heavy-duty truck customers.

         With Ford-built diesel and gas powertrains, the all-new Ford Super Duty dominates the competition in payload, conventional towing, fifth-wheel
         towing and gross combined weight rating in both pickups and chassis cabs. Diesel engines account for 65 percent of the Super Duty sales, with gas
         engines making up the remaining 35 percent.

         The new 6.7-liter Power Stroke V-8 turbocharged diesel – designed, engineered and built by Ford – delivers class-leading fuel economy as well as
         best-in-class 390 horsepower and 735 ft.-lb. of torque – that’s 75 ft.-lb. more than its nearest competitor in the market today. Plus, the new Super
         Duty fuel economy improvement averages 18 percent better for pickup models and up to 25 percent for chassis cab versus the outgoing Super
         Duty.

         Significantly improved torque – 85 ft.-lb. more than the current 6.4-liter Power Stroke diesel – is good news for the nearly 97 percent of Super Duty
         customers who tow and helps the 2011 Super Duty deliver class-leading towing capability of 26,400 pounds with the F-550 chassis cab. The 2011
         Super Duty also has class-leading payload capability of 6,520 pounds.

         “Having best-in-class numbers is powerful, but the real payoff is how those numbers deliver for our customers,” said Mark Fields, Ford president of
         The Americas. “For 33 years, F-Series has been the No. 1-seller in America because we listen to our customers. With Super Duty, they’ve told us
         how they use their trucks to tow, and on the new truck, we focused on delivering best-in-class towing capability for them with new powertrains that
         deliver best-in-class power and best-in-class fuel economy.”

         Built to last, just the way customers like
         During the Super Duty’s development, engineers put more than 10.3 million equivalent test miles on the new diesel engine, including extreme road
         and weather conditions. The new Power Stroke diesel is the most-tested Power Stroke ever, incorporating the most rigorous engine tests found in
         Ford globally.

         Extensive CAD (computer-aided design) and CAE (computer-aided engineering) work was completed to identify any potential challenges before
         hardware was created, which not only is time-efficient but also helps ensure quality at the outset.

         Customer data, including driving styles, road types and vehicle usage (towing and payload), also played a key role in developing the testing
         program that best replicated Super Duty use.

         Components were tested in the laboratory with a regimen designed to exceed what even the most extreme-use customer might dish out. Engines
         literally ran continuously for hundreds of hours. Engines were started in below-zero temperatures more than 2,600 times. Plus, laboratory tests
         simulated 10 years of use in arctic conditions.

         B20 compatibility added for 2011 model year
         The strict testing work also ensured the new engine is B20 compatible, which allows customers another fueling option that uses blends of up to 20
         percent biodiesel and 80 percent petroleum diesel. Because biodiesel fuel varies in quality in the U.S. and Canada, durability testing cycles were
         run on multiple blends of the fuel to ensure the robustness of the system. This is especially important to the agricultural industry, where biodiesel is
         often the preferred fuel.

         “These tests give us the full spectrum of Super Duty customers – from those who run their trucks at maximum power with a maximum load for long



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         periods to those who use them more in a start-stop mode,” said Ed Waszczenko, lead engine durability engineer.

         Finally, a battery of in-vehicle, real-world tests validated the work done in the laboratories. The 2011 F-450 Super Duty, for example, can tow a
         24,400-pound trailer up a 6 percent grade at 47 mph, which is more than 50 percent faster than the outgoing product. The F-450 and F-550 have no
         competitors in the marketplace.

         “That’s the difference between trucks passing you, or you passing trucks,” said Chris Brewer, Super Duty chief engineer.

         Class-leading capability
         Growing Super Duty’s heavy-truck leadership legacy, the 2011 F-250 and F-350 pickup trucks have best-in-class conventional towing and payload
         capability. The F-250 and F-350 single-rear-wheel model can tow up to 14,000 pounds with payloads of 4,050 pounds and 4,600 pounds,
         respectively.

         In addition, the F-350 dual-rear-wheel model delivers best-in-class conventional towing of 16,000 pounds and fifth-wheel towing of 21,600 pounds
         as well as best-in-class payload of 6,520 pounds. With chassis cab sales accounting for up to 25 percent of the Super Duty mix, the leadership
         towing capability of the F-550 fifth-wheel hitch is notable: 26,400 pounds.

         The improved torque also enables the driver to hold a higher gear longer, which helps with highway fuel economy. “This prevents transmission ‘gear
         hunting,’ and lets you stay in gear longer before downshifting, ultimately saving fuel,” Brewer said.

         Quietest Power Stroke ever
         In addition to its capability, the new 6.7-liter Power Stroke V-8 has the lowest NVH (noise, vibration and harshness) in the class with a notably
         quieter, more refined sound than ever. Improvements to the combustion system, structural integrity of the compacted graphite iron block and the
         single turbocharger mounted to the engine block account for many of the NVH improvements.

         Specific design upgrades were made to both the piston and the piston bowl to optimize the combustion process, which features a two-stage
         combustion event instead of a single-injection event. Single-injection events can cause harsh, sudden and loud combustion. On the 2011 Super
         Duty, a starter or pilot injection of fuel begins the combustion process before the main injection.

         The result is smoother combustion and a more refined sound for the customer. When at idle, two pilot injection events are used to make the firing
         process even smoother and aid in quietness.
         The “ticking” of the high-speed injectors also is quieted by specially designed covers on the engine. Mounting the turbocharger from the center
         housing directly to the block provided several advantages as well in terms of NVH.

         “When turbochargers vibrate, it can lead to other parts of the vehicle, such as the exhaust system, vibrating,” said Adam Gryglak, chief diesel
         engineering manager. “So when the turbocharger vibrates a lot, the exhaust system vibrates too, and that’s disturbing to the customer. Bolting the
         turbocharger directly to the block eliminates that concern.”

         Using one turbocharger, instead of two operating in series or sequentially, helped resolve some NVH challenges as well. The single turbocharger
         eliminates air-handling noises – the whooshes – typically heard when the engine switches from one turbo to the next. Also, the single turbocharger
         has ball bearings that pilot the shaft in the turbo, eliminating the potential for the shaft of the turbocharger to gyrate in its housing, another potential
         NVH issue.

         Other improvements include the addition of two resonators in the intake system as well as a third resonator near the air cleaner. These additions
         made it possible to tune the diesel intake system to the desired sound.

         New gas engine leads in torque, horsepower and fuel economy
         The 2011 Super Duty features a new, more powerful and efficient standard gasoline engine that also delivers class-leading numbers. The new 6.2-
         liter V-8 gasoline engine produces 405 ft.-lb. of torque (at 4,500 rpm) and 385 horsepower (at 5,500 rpm) on regular gasoline. These numbers
         represent an increase of 40 ft.-lb. of torque and 85 horsepower versus the current 5.4-liter V-8. The new engine also is E85 compatible.

         Already cementing its ‘Built Ford Tough’ status
         Nearly all the components of the 2011 Super Duty 6.2-liter V-8 are shared with the 6.2-liter V-8 engine found in the 2010 F-150 SVT Raptor, a
         purpose-built, high-performance off-road truck versatile enough to take on the most challenging desert adventures as well as daily commutes.

         In November 2008, the 6.2-liter Raptor R not only survived its first grueling Baja 1000, it earned a podium finish.

         Testing on the 6.2-liter V-8 included running multiple engines for more than 500 hours at peak torque and peak horsepower as well as customer-
         correlated 1,000-hour road load tests to ensure dependability for even the toughest Ford F-Series Super Duty customer.

         “Having two outstanding powertrains to choose from is a real win-win for Super Duty customers,” said Doug Scott, truck group marketing manager.
         “Both Ford’s new diesel and new gasoline engines deliver the ‘and solution’ – best-in-class horsepower, torque and fuel economy.
         “Leadership in areas that matter most to customers will help ensure the 2011 Super Duty will continue to be the undisputed leader in full-size pickup
         towing, payload and capability.”

         More information



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         For additional information and images of the 2011 Ford F-Series Super Duty, click here.

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         About Ford Motor Company
         Ford Motor Company, a global automotive industry leader based in Dearborn, Mich., manufactures or distributes automobiles across six continents.
         With about 198,000 employees and about 90 plants worldwide, the company’s automotive brands include Ford, Lincoln, Mercury and Volvo. The
         company provides financial services through Ford Motor Credit Company. For more information regarding Ford’s products, please visit
         www.ford.com.



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2011 Ford F-Series Super Duty Power Stroke
Diesel is Cleanest Ever; Fuel Economy
Greatly Improved

NEWS PROVIDED BY
Ford Motor Company 
Mar 09, 2010, 05:00 ET




ST. LOUIS, March 9 /PRNewswire-FirstCall/ --


       The all-new 2011 Ford F-Series Super Duty features all-new diesel and gas powertrains that
       deliver best-in-class torque and horsepower as well as class-leading fuel economy


       The Ford F-Series Super Duty equipped with the 6.7-liter Power Stroke® V-8 turbocharged
       diesel engine averages an 18 percent improvement for pickup models and up to 25 percent
       improvement for chassis cabs versus 2010 models. Trucks equipped with new base 6.2-liter
       V-8 gas engine average a 15 percent improvement versus 2010 models


       The new diesel engine is B20 biodiesel compatible and the new gas engine is E85
       compatible, providing customers a wide range of fueling options


       Best-in-class fuel economy and class-leading capability – towing of 26,400 pounds and a
       6,520-pound payload – is due largely to the all-new 6R140 heavy-duty TorqShift® six-speed
       automatic transmission, providing more than half the overall improved fuel economy


The all-new 2011 Ford F-Series Super Duty delivers best-in-class torque, horsepower, towing and
payload capability – and does it all more ef ciently, resulting in less fuel usage and extended
maintenance intervals that can translate directly into bottom-line savings for customers.
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pickup truck on the road, it performs the tough jobs with even more ef ciency than ever before,"
said Doug Scott, truck group marketing manager. "Customers can be con dent that Super
Duty's class-leading capability comes with Ford's 'and solution' of best-in-class fuel economy."


All-new diesel and gas engine powertrains are the backbone of the 2011 Super Duty's best-in-
class towing (26,400 pounds for F-550 chassis cab with fth-wheel hitch) and payload capability
(6,520 pounds for F-350 dual rear-wheel pickup). The Ford-designed, Ford-engineered and Ford-
built 6.7-liter Power Stroke V-8 turbocharged diesel engine produces best-in-class 735 ft.-lb. of
torque at 1,600 rpm and best-in-class 390 horsepower at 2,800 rpm. The new engine is
compatible up to B20 biodiesel fuel as well.


The new 6.2-liter V-8 gasoline engine also boasts best-in-class numbers of 405 ft.-lb. of torque at
4,500 rpm and 385 horsepower at 5,500 rpm. The new engine is E85 compatible.


Mated to each engine is the all-new 6R140 heavy-duty TorqShift six-speed automatic
transmission. The added feature content and overall ef ciency of the transmission are the main
reasons for the improved fuel economy. The all-new 2011 Ford F-Series Super Duty equipped
with the 6.7-liter Power Stroke diesel averages an 18 percent improvement for pickup models
and up to 25 percent improvement for chassis cabs versus 2010 models. Trucks equipped with
new base 6.2-liter V-8 gas engine average a 15 percent improvement versus 2010 models.


"The new transmission is a 'clean-sheet' design, developed speci cally to handle the signi cantly
increased torque produced by the new diesel engine and the higher rotational speeds produced
by the new gas engine, and to deliver the power to the wheels seamlessly and ef ciently for
heavy-duty truck customers," said Al Bruck, transmission engineering manager. "Each system
and component was scrutinized to deliver optimum performance."


Here's a closer look at what was achieved and the bene ts to the customer:




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       stronger torque converter is core to the improved transmission performance. One key
       component is the long-travel turbine damper that allows the transmission to lock earlier, at
       a lower rpm, which translates to less slip and more fuel ef ciency. The new transmission
       locks down to 900 rpm, which is about 200 rpm less than the outgoing product and more
       than 100 rpm less than competitors. The second key component of the torque converter is
       the closed-piston design. This design allows for better control of the lock-up clutch, which
       enables controlled converter clutch slip during lock-to-lock upshifts that are seamless to
       the customer.


– Customer fuel economy bene t: Locked converter operation at lower speeds means less
wasted heat energy and better fuel economy.


       Optimized shift and converter lock-up schedule: After analyzing the entire shift
       schedule, Ford calibration engineers ne-tuned it by measuring and optimizing the fuel
            ow. The system recognizes light or heavy throttle use, and puts the transmission in the
       right gear for best performance and ef ciency. The entire operating range has been
       optimized to get the best fuel economy by locking up the converter as soon as possible and
       as much as possible.


– Customer fuel economy bene t: Optimizing the shift schedule and lock schedule ensures
customers automatically operate in the most ef cient gears and save fuel.


       Gearing and double-overdrive: The 6R140 transmission has a ratio span of about 5.9,
       which is quite a bit wider than competitors. This wider span means the transmission has a
       deeper rst gear that allows customers to get the load moving quicker, and a tall overdrive
       ratio for good highway ef ciency. While the gearing itself is important, the key to overall
       ef ciency is matching that gearing to the correct axle. With the diesel engine, up to four
       axle ratios are available on the pickups – 3.31, 3.55, 3.73 and 4.30. Matching up the gearing
       with the right axles means better overall ef ciency.


– Customer fuel economy bene t: The double-overdrive gear means even if a customer gets a
downshift on the highway, the transmission remains in overdrive. Also, the F-450 pickup went
from a 4.88 axle to a 4.30 axle at launch for the 2011 model mated to the wide ratio span of the

https://www.prnewswire.com/news-releases/2011-ford-f-series-super-duty-power-stroke-diesel-is-cleanest-ever-fuel-economy-greatly-improved-87156742.html   3/6
transmission.
8/29/2019
              This
               Caseand other   optimizations
                         2011 Ford F-Series Super Duty
                     3:19-cv-00398-CLS                 mean the
                                                       Power Stroke22
                                                  Document              F-450
                                                                    DieselFiled
                                                                                   now
                                                                           is Cleanest
                                                                                            has about
                                                                                       Ever; Fuel Economy
                                                                                  09/06/19                 a 30
                                                                                                   PageGreatly
                                                                                                          29      percent
                                                                                                             ofImproved
                                                                                                                 54
improvement in fuel economy.


       Optimized pumping pressure: A certain amount of pressure is required to hold the
       clutches together so they don't slip. The trick is to have the right amount of pressure to do
       the job. Too much pressure wastes fuel. The solution is to optimize the size of the pump and
       precisely control the pressure for all operating conditions.


– Customer fuel economy bene t: At highway speeds, for example, the line pressure is reduced,
which helps save fuel. The system maintains the right amount of pressure for any given speed
range. The less energy needed for internal pump pressure means less fuel used.


       Optimized drainback to reduce spin losses: A main objective is to get the uid through
       the main barrel to lubricate and cool components, and get it back to the sump as quickly
       as possible. This reduces windage and parasitic loss. The clutch friction plates were
       designed to allow uid to ow through them ef ciently for cooling and reduced drag.
       Clutch housings, connecting shells and the main case housing were optimized to quickly
       drain the uid out of rotating components and back into the sump.


– Customer fuel economy bene t: Fewer parasitic losses due to reduced churning of uid
increases fuel economy.


       Warmer operating temperature: Tied in with spin losses, the 6R140 cooling system has
       been optimized to allow for the proper amount of cooling when towing heavy loads in
       high ambient temperatures, while running at an overall higher stabilized temperature. This
       higher stabilized temperature lowers the viscosity and helps the uid ow more easily,
       which reduces parasitic losses and saves fuel. The uid also warms up faster because it does
       not ow to the cooling circuit until properly warmed up. Faster warm-up also reduces
       overall parasitic losses.


– Customer fuel economy bene t: Fewer parasitic losses due to reduced uid viscosity
translates to less internal drag on the system and increases fuel economy.


Lighter, more ef cient than competition
https://www.prnewswire.com/news-releases/2011-ford-f-series-super-duty-power-stroke-diesel-is-cleanest-ever-fuel-economy-greatly-improved-87156742.html   4/6
The   6R140 transmission
8/29/2019
                         is about 25 pounds
                          2011 Ford F-Series Super Duty
                Case 3:19-cv-00398-CLS                   lighter Diesel
                                                                     than
                                                        Power Stroke22
                                                   Document                 those
                                                                         is Cleanest
                                                                        Filed         of competitors.
                                                                                     Ever; Fuel Economy
                                                                                09/06/19                30 ofThe
                                                                                                 PageGreatly   54 new engines
                                                                                                             Improved


are lighter than the outgoing products as well, which altogether means much more ef cient
power ow on a pound-for-pound basis. The 6R140 also has a 150,000-mile uid change
interval, which is 2-1/2 times greater than the outgoing product. A patent-pending high-
ef ciency dual-media lter is the main reason for the extended maintenance interval, which is
another savings for customers.


Cleanest Power Stroke ever


The new 6.7-liter Power Stroke V-8 turbocharged diesel employs an aftertreatment system to
help comply with 2010 federal regulations to reduce NOx levels in diesel emissions by more
than 80 percent compared with the previous standard. The Ford aftertreatment system is a
three-stage process; a key component is the use of Diesel Exhaust Fluid (DEF).


Injection of DEF to reduce NOx is a proven technology that's been used throughout the
automotive industry. Unlike other strategies used to control NOx, the DEF system allows the
diesel engine to run at its optimum range in terms of fuel mixture. Some systems require the
engine to run richer – which can be harmful to diesel engines – in order to control the NOx.


The aftertreatment system works like this:


Step One: Cleaning and Heating – The rst step in cleaning the diesel exhaust occurs when the
exhaust stream enters the Diesel Oxidation Catalyst (DOC). The role of the DOC is twofold. First, it
converts and oxidizes hydrocarbons into water and carbon dioxide. This conversion happens at
about 250 degrees Celsius.


Second, the DOC is used to provide and promote heat, using speci c engine management
strategies, into the exhaust system. Through appropriate thermal management, this heat
increases the conversion ef ciency of the downstream subsystems in reducing emissions.


Step Two: Knocking Out the NOx – The next step in the process is what's known as Selective
Catalytic Reduction (SCR). In this process, the NOx in the exhaust stream is converted into water
and inert nitrogen, which is present in the atmosphere and harmless. Before the exhaust gas


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          the SCR Case
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                           2011 Ford F-Series Super Duty
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                                                                                   solution
                                                                             is Cleanest
                                                                                                  that   is Greatly
                                                                                         Ever; Fuel Economy
                                                                                    09/06/19         Page   approximately
                                                                                                             31 ofImproved
                                                                                                                    54     67.5
percent water and 32.5 percent pure urea.


When heated, the DEF splits into ammonia and carbon dioxide. These molecules are atomized
and vaporized, then enter a mixer that resembles a corkscrew. This twist mixer evenly distributes
the ammonia within the exhaust ow. The ammonia enters the SCR module, which contains a
catalyzed substrate, and through chemical reactions combines and converts the NOx and
ammonia into the harmless inert nitrogen and water. Dosing occurs between 200 and 500
degrees Celsius.


Step Three: Scrubbing Away the Soot – The nal part of the cleansing system for the diesel
exhaust gas involves the Diesel Particulate Filter (DPF). The DPF traps any remaining soot, which
is then periodically burned away, known as regenerating, when sensors detect the trap is full.
The regeneration process sees temperatures in excess of 600 degrees Celsius to burn away soot.


This industry-proven technology ensures that the new 6.7-liter diesel is the cleanest Power
Stroke ever, as well as the most fuel-ef cient.


"Having this diesel designed in-house at Ford meant we were able to work on optimizations and
re nements right from the start," said Tim Ogilvie, vehicle energy supervisor. "We're able to deliver
to customers a more re ned, more fuel-ef cient Super Duty, with class-leading torque and
horsepower and the class-leading capability they demand."


About Ford Motor Company


Ford Motor Company (NYSE: F), a global automotive industry leader based in Dearborn, Mich.,
manufactures or distributes automobiles across six continents. With about 198,000
employees and about 90 plants worldwide, the company's automotive brands include Ford,
Lincoln, Mercury and Volvo. The company provides nancial services through Ford Motor
Credit Company. For more information regarding Ford's products, please visit www.ford.com.


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     Trusted by those who own work.
     Construction. Heavy Hauling. Emergency Vehicles. Agriculture. Forestry. Utility Services.
     Within these and countless other essential industries, the guys who do the toughest work
     count on one heavy-duty truck more than any other1 – Ford Super Duty.® Day in. And day out.
     Built Ford Tough® powertrains deliver best-in-class2 gas horsepower and torque. Plus, the
     2014 Super Duty pickup with Power Stroke ® 6.7L diesel achieves best-in-class diesel fuel
     economy,3 horsepower, and standard torque. Backed by best-in-class maximum payload
     and conventional towing capabilities4 and standard trailer sway control, Super Duty helps
     you get the job done when no one else can. No wonder F-Series has been America’s
     best-selling truck for 36 years. Go further in a 2014 Super Duty.




 F-250 XL Regular Cab 4x2. Oxford White. New XL Appearance Package. Available equipment.
  ercentages based on Polk U.S. heavy-duty pickup and class 2–5 conventional chassis cab combined new registrations (2011 CYE–2012 CYTD JUNE) within listed vocations. 2 Class is
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 Full-Size Pickups over 8,500 lbs. GVWR vs. 2013/2014 competitors. 3 Based on Ford simulated city-suburban drive-cycle tests ofI
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 models, consistent with SAE Standard J1321. 4 When properly equipped. Vehicles throughout this brochure may be shown with optional and aftermarket upfit equipment.                        ford.com
                                                                       Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 34 of 54




       PROVEN WORKHORSES                                                                                                               F-450                                               F-350                                     F-250

       with a LEGENDARY BLOODLINE.
                                                                                                                                       Maximum Capabilities2                               Maximum Capabilities2                     Maximum Capabilities2
                                                                                                                                       24,700-lb. 5th-Wheel Towing                         23,200-lb. 5th-Wheel Towing               16,800-lb. 5th-Wheel Towing
                                                                                                                                       18,500-lb. Conv. Towing – BEST IN CLASS             18,500-lb. Conv. Towing – BEST IN CLASS   14,000-lb. Conv. Towing
                                                                                                                                       5,880-lb. Payload                                   7,260-lb. Payload – BEST IN CLASS         4,240-lb. Payload
       The 2014 Ford F-Series Super Duty ® comes in your choice of 3 models                                                            14,000-lb. GVWR – UNSURPASSED                       14,000-lb. GVWR – UNSURPASSED             10,000-lb. GVWR
       (F-250, F-350 and F-450), each available in XL, XLT, LARIAT, KING RANCH® and
                                                                                                                                       Equipment Configurations                            Equipment Configurations                  Equipment Configurations
       PLATINUM trim. With the most equipment configurations of any truck in its                                                       6.7L Power Stroke® V8 Turbo Diesel                  6.2L Gas V8 or 6.7L Power Stroke V8       6.2L Gas V8 or 6.7L Power Stroke V8
       class, there’s one just right for you and your work. Plus, you can rest assured                                                 Dual Rear Wheel 4x4                                 Turbo Diesel                              Turbo Diesel
                                                                                                                                       Crew Cab with 8' Box                                Single Rear Wheel or Dual Rear Wheel;     Single Rear Wheel 4x2 or 4x4
       your new Super Duty is built on a solid foundation, one engineered to last.                                                                                                         4x2 or 4x4                                Regular Cab, SuperCab or Crew Cab;
       It’s an indisputable fact: There are more F-Series trucks on the road with                                                                                                          Regular Cab, SuperCab or Crew Cab;        6¾' or 8' Box
                                                                                                                                                                                           6¾' or 8' Box
       250,000+ miles than any other brand.1



F-450 King Ranch Crew Cab. Chrome Package. White Platinum Tri-coat/Pale Adobe two-tone. F-350 XLT SuperCab 4x4. Tuxedo Black.
F-250 XL Regular Cab 4x2. Ingot Silver. Available or aftermarket equipment shown on each.
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    Based on vehicle registration data and latest odometer readings available to R. L. Polk & Co. for 1992 and newer model year full-size pickups still on the road in the U.S. as of 1/1/12. 2 When properly equipped.                            ford.com
                                                             Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 35 of 54




     power stroke –
     the diesel leader on 3 fronts.
     Best-in-class fuel economy.1 Best-in-class 400 horsepower. And best-in-class
     800 lb.-ft. of standard torque. The 6.7L Power Stroke® V8 Turbo Diesel engine2 delivers
     3 times over. Designed, engineered and built by Ford, the 6.7L features many
     innovative details that contribute to its durability. Precision dual water jackets that
     help minimize weight while maximizing the cooling of its aluminum cylinder heads are
     just one example. Equipped with this thoroughly modern diesel, the 2014 Super Duty®
     offers best-in-class diesel fuel economy. This B20-capable engine is the most tested
     Power Stroke diesel ever, having proven itself in over 10 million miles of cumulative
     testing and real-world use under extreme conditions. From 120°F scorching heat to
     -40°F bone-chilling cold. The class-leading 6.7L Power Stroke is Built Ford Tough.®




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 Based on Ford simulated city-suburban drive-cycle tests of comparably equipped 2014 Ford and 2011–2013 competitive models, mat
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 consistent with SAE Standard J1321. 2Available feature.                                                                                         ford.com
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                                                                                                                                                  gas leads its class too.
                                                                                                                                                  With 385 horsepower and 405 lb.-ft. of torque.1 This state-of-the-art
                                                                                                                                                  6.2L 2-valve V8 is also designed, engineered, built and torture-tested
                                                                                                                                                  by Ford. So you can rest assured it’s ready for work. As the standard
                                                                                                                                                  engine on F-250/F-350, the 6.2L offers you several fuel choices.
                                                                                                                                                  It’s E85 capable and can be equipped with the CNG/LPG Gaseous
                                                                                                                                                  Engine Prep Package, which readies your truck to be upfit to run on
                                                                                                                                                  compressed natural gas (CNG), on liquefied petroleum gas (LPG),
                                                                                                                                                  or as a bi-fuel vehicle with the ability to seamlessly switch between
                                                                                                                                                  CNG or LPG and gasoline. Ford trucks upfit to a bi-fuel system include
                                                                                                                                                  a tank for each type of fuel, offering drivers flexibility and extended
                                                                                                                                                  range. For ordering details, see your Ford Dealer. Purchasing a
                                                                                                                                                  Super Duty ® upfit for CNG or LPG may even help you qualify for state
                                                                                                                                                  incentives related to alternative-fuel use, infrastructure or vehicles.
                                                                                                                                                  Visit www.afdc.energy.gov/afdc/laws for details.




F-250 XLT SuperCab 4x4. Chrome Package. Vermillion Red. Available equipment.
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 385 hp and 405 lb.-ft. of torque, 10,000 lbs. GVWR and under. 316 hp and 397 lb.-ft. of torque, 10,001 lbs. GVWR and over.
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                                                                        Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 37 of 54
       your power. your choice.
       Diesel or gas. Either way, your Super Duty® comes with a rugged TorqShift® 6-speed SelectShift®                                                           Engine        6.7L V8 Turbo Diesel                                      6.2L 2-Valve V8 Gas 3
       automatic transmission designed, engineered and built by the Ford powertrain team. Low-               Configuration                                                     OHV (32-valve)                                            SOHC
       speed lockup capability (down to 900 rpm) on its torque converter enables the engine to run           Fuel injection                                                    High-pressure common-rail                                 Sequential electronic
                                                                                                             Induction system                                                  Single-sequential turbocharger;                           Specially tuned
       efficiently at lower rpm. Its high-strength sinter-metal carrier, with patented Ford rocker one-way 		                                                                  charged air cooler
       clutch, easily handles the extreme low-end torque of the diesel engine, as well as the high           Battery                                                           Dual 12-volt; 750-CCA/78-amp-hr                           12-volt; 650-CCA/72-amp-hr
                                                                                                             Alternator                                                        157-amp (single 200-amp                                   157-amp (single 200-amp, optional)
       speeds of the gas engine. Plus, its high-capacity, high-efficiency fluid filter extends your fluid-
                                                                                                           		                                                                  or dual combined 357-amp, optional)
       and filter-change intervals up to 150,000 miles. Gear up for the long haul with Super Duty.           Oil-life monitor                                                  Intelligent Oil-Life Monitor ®                            Oil-minder system
                                                                                                             Cylinder heads                                                    Aluminum                                                  Aluminum
                                                                                                             Block material                                                    Compacted graphite iron                                   Cast iron
       6.7L power stroke V8 Turbo Diesel
                                       ®
                                                                                                             Valve operation                                                   Push rod/rocker arms                                      Roller-rocker shaft
                                                                                                             Camshaft drive                                                    Gear                                                      Silent chain
       Maximum power – quickly. The diesel’s class-exclusive                                                 Bore/stroke                                                       3.90"/4.25"                                               4.02"/3.74"
       single-sequential turbocharger features a compactly designed,
                                                                                   800 LB.-FT.
                                                                                                  400 HP     Compression ratio                                                 16.2:1                                                    9.8:1
       dual-sided compressor wheel that helps efficiently generate       800                                 Horsepower/rpm                                                    400 @ 2,800                                               385 @ 5,500/316 @ 4,1792
       the best horsepower and standard diesel torque in the class.
                                                                                                             Torque lb.-ft./rpm                                                800 @ 1,600                                               405 @ 4,500/397 @ 4,1792
       Upfits powered any time. Whether the truck is in motion or        400                                 Recommended fuel                                                  Ultra-low-sulfur diesel or B20                            Regular unleaded or E85
       at a complete stop, our class-exclusive live-drive power take-off                                   		                                                                  (containing 20% or less biodiesel)                        Bi-fuel capable LPG or CNG (requires upfit)
       (PTO) provision lets you power upfits any time the diesel engine
                        1

       is running. It keeps the job going with an output gear linked                                         Transmission                                                      6-speed SelectShift automatic                             6-speed SelectShift automatic
       directly to the engine crankshaft.                                  1,000   2,000         3,000       Gear ratios                                                       1st - 3.97:1, 2nd - 2.31:1, 3rd - 1.51:1, 4th - 1.14:1,   1st - 3.97:1, 2nd - 2.31:1, 3rd - 1.51:1, 4th - 1.14:1,
                                                                                 Engine speed (rpm)        		                                                                  5th - 0.85:1, 6th - 0.67:1, Reverse - 3.12:1              5th - 0.85:1, 6th - 0.67:1, Reverse - 3.12:1
                                                                                                             PTO1                                                              Live-drive access on driver’s side                        —
       6.2L 2-valve V8 gas

       Serious low-rpm torque. The gas engine’s stiff SOHC valvetrain                                      405 LB.-FT.2
       with roller-rocker shafts enables an intake- and exhaust-port layout                                                          385 HP 2
       that optimizes airflow for lots of torque when you need it most.             400

       Balanced performance. Dual-equal variable cam timing
       phases the intake- and exhaust-valve opening and closing events              200
       simultaneously to optimize fuel economy, low-end torque and
       peak horsepower. Plus, using 2 spark plugs per cylinder helps
       the fuel-air mixture burn efficiently, contributing to fuel economy
       and engine torque.                                                              1,000            3,000         5,000
                                                                                                      Engine speed (rpm)
                                                                                                      Certified to SAE J1349.




F-250 XL Crew Cab. Oxford White. Available equipment.
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    Available feature. 2405 lb.-ft. of torque and 385 hp, 10,000 lbs. GVWR and under. 397 lb.-ft. of torque and 316 hp, 10,001 lbs. GVWR and over. 3 Certified to SAE J1349.                                                                                       ford.com
                                                                    Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 38 of 54




                                                                                                                                                 out-hauls them all.
                                                                                                                                                 Super Duty® fully supports your work ethic by offering all the right tools to ease loading,
                                                                                                                                                 accessing and managing the heaviest payloads in the class. With our class-exclusive
                                                                                                                                                 tailgate step1 (shown), you just open the tailgate, drop down the skid-resistant step, grab
                                                                                                                                                 the flip-up bar and walk right up into the bed. Plus, you’ll haul the heaviest loads with
                                                                                                                                                 confidence thanks to our AdvanceTrac® with class-exclusive RSC® (Roll Stability Control™),
                                                                                                                                                 which utilizes 2 gyroscopic sensors to help keep all 4 wheels firmly planted.2 It automatically
                                                                                                                                                 helps avoid skidding and fishtailing, and is particularly beneficial in inclement weather.
                                                                                                                                                 Work smarter with Super Duty.




          class-best                         7,260 lbs.3                                    roll stability                                 control1                           torsion spring                          tailgate assist
          max. payload


 F-250 XL Regular Cab 4x2. XL Appearance Package. Oxford White. Available equipment.
 Available feature. 2SRW models only. Engine-only traction control on DRW models. Remember that even advanced technology        Inf ormati
                                                                                                                                         onovercome
                                                                                                                                     cannot Provi
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                                                                                                                                                     the                                                                 14Super duty
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 It’s always possible to lose control of a vehicle due to inappropriate driver input for the conditions. 3 When properly equipped. F-350 DRW Regular Cab 4x2.                                                                  ford.com
                                                                Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 39 of 54

     thrives under pressure.
     Super Duty® easily tows up to 24,700 lbs.1 with its 5th-wheel capability. And it offers best-in-class
     maximum conventional towing capability.1 Plus, it’s the only truck in the class with trailer sway control
     standard on both SRW and DRW models. The system, which monitors the motions of your truck
     to detect trailer sway, can help you maintain control of both the truck and the trailer by selectively
     braking as needed.2 When you’re negotiating an incline in Drive or in Reverse, standard hill start assist
     helps you out by momentarily maintaining brake pressure until the engine delivers enough torque
     to move the truck uphill. On diesel models, integrated engine-exhaust braking helps improve grade
     descent control with less wear and tear on the brakes and transmission. Like all of the best leaders,
     Super Duty handles tough jobs with the utmost confidence.




          class-best                       18,500-lb.                                              controls                       sway   hill start           assist
          conv. towing                     maximum1


 F-350 PLATINUM Crew Cab DRW 4x4. Ruby Red. Available equipment.
 When properly equipped. 2 Remember that even advanced technology cannot overcome the laws of physics.        I
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 It’s always possible to lose control of a vehicle due to inappropriate driver input for the conditions.                                                  ford.com
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 hits the ground towing.
 Thanks to our 5th-Wheel/Gooseneck Trailer Tow Prep Package and Ford Custom Accessories 5th-Wheel and
 Gooseneck Hitch Kits1 by Reese® – all factory installed. With Super Duty,® you also get the strength of an under-the-
 bed-frame crossmember 2 and the utility of a flat cargo bed floor. PowerScope® trailer tow mirrors2 and an in-bed
 7-pin connector 2 are class exclusives. The LCD productivity screen2 offers a pre-towing checklist and recalls settings
 for different trailers. There’s even a factory-installed, integrated trailer brake controller 2 to balance the performance
 of the truck’s brakes and electric trailer brakes.3 Plus, the rear view camera 2 displays its full-color image in your
 rearview mirror or on the 8" MyFord Touch®2 screen. Ready, set, tow.


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 5th-Wheel Hitch available with 8’ box only. See your Ford Dealer for details. 2 Available feature. 3 Trailer brake controller verified or
                                                                                                                                        to ma ti
                                                                                                                                               onProvide
                                                                                                                                           be compatible dby
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                                                                                                                                                              electrically   14Super duty
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 actuated drum brakes and certain electric-over-hydraulic brake systems. See your Ford Dealer for details.                                                                       ford.com
                                                                     Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 41 of 54




 personalizes your control.
 Voice-activated Ford SYNC®1 with 911 Assist® delivers hands-free calls, Bluetooth®-streaming music and more with simple
 voice commands. Once paired, it can download your contacts and play music from your smartphone, MP3, USB or iPod.®
 Just touch a button on the steering wheel and say things like “Call: Shipping” or “Play playlist: Country.” SYNC with MyFord
 Touch®1 adds an 8" color LCD touch screen and closable dash-top storage with a media hub and more inside. You can use
 voice commands, touch the 8" screen, or use the knobs and buttons below it to operate MyFord Touch. SiriusXM Satellite
 Radio2 includes a 6-month trial subscription that brings you over 130 channels including commercial-free music, plus
 sports, news, talk, comedy and entertainment. Pair it with the voice-activated Navigation System,2 which includes SiriusXM
 Traffic and Travel Link as part of the trial, and you’ll have the ability to look up fuel prices, check local and national weather,
 and get detailed information on traffic speed, accidents, construction and road closings. It’s all just a touch away.




 LARIAT 4x4. Charcoal Black interior. Available equipment.
 Available feature. Driving while distracted can result in loss of vehicle control. Only use SYNC/MyFord Touch/other devices, evenInf
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 when it is safe to do so. Some features may be locked out while the vehicle is in gear. Not all features are compatible with all phones. 2Available feature.       ford.com
                                                                  Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 42 of 54




       celebrates your success.
       Especially when you choose the top-of-the-line Super Duty® PLATINUM. Express your style with its premium
       leather-trimmed seating in your choice of Pecan or Charcoal Black, both featuring a tuxedo stripe design and
       exclusive “PLATINUM” embroidery. Maintain your climate-control independence with its dual-zone electronic
       automatic temperature control. And rely on its convenient memory feature to recall your personalized
       settings in an instant, including the position of the power trailer tow mirrors, the 10-way power driver’s seat,
       and the power-adjustable brake and accelerator pedals. Whichever trim you select, the 2014 Super Duty
       clearly conveys your hardworking ethics and your drive to succeed.




             hEATED/COOLED                        front seats1                                       audio system from sony ®1      heated       Steering1




PLATINUM Crew Cab 4x4. Pecan leather trim. Available equipment.
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    Available feature.                                                                                                                           ford.com
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Supports your productivity.
Dual USB ports recharge your devices while they’re connected to the SYNC® with MyFord Touch®1 media hub. The
industrial-grade Tough Bed® factory-installed, spray-in bedliner 1 helps shield your investment. Lockable under-seat
storage in the center of the 40/20/40 split front seat1 offers a discreet place to stow small items. The flow-through
center console1 includes a 110-volt power outlet and two 12-volt powerpoints. The stowable bed extender,1 made of
rugged fiberglass-reinforced polypropylene, lets you haul more with the tailgate down or secure smaller loads with
it up. And the 60/40 split flip-up/fold-down rear bench seat includes lockable under-seat partitioned storage1 on
certain Crew Cab models. From electronics to cargo and beyond – Super Duty® streamlines your workday.


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    Available feature.                                                                                                      ford.com
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       conquers the toughest terrain.
       Thanks in part to its durable coil-spring front suspension, part of the heavy-duty independent                                     Front Suspension                                 Steering
       Twin-I-Beam setup on 4x2s and rugged twin-coil monobeam setup on 4x4s. XL and XLT                                                  Twin-I-Beam (F-250/F-350 4x2); solid Twin-Coil   Assist – Power
                                                                                                                                          Monobeam axle (F-250/F-350 4x4, F-450 4x4)       Overall ratio – 20.49:1 (F-250/F-350 4x2);
       4x4s feature a solid front axle and manual locking hubs for excellent articulation and reliability.                                Axle (rating @ ground) –                         20.41:1 (F-250/F-350 4x4); 20.41:1 average (F-450)
       LARIAT, KING RANCH ® and PLATINUM 4x4s include electronic shift-on-the-fly operation,                                              5,250 lbs. (F-250/F-350 4x2);
                                                                                                                                           6,000 lbs. (F-250/F-350/F-450 4x4)              Brakes
       allowing you to change drive settings with the turn of a dial on the instrument panel. Our                                          Springs – Coil                                  Power 4-wheel vented-disc with ABS (standard)
       electronic-locking rear differential1 uses a true mechanical dog-clutch mechanism to lock                                           Shock absorbers – 1.38" gas type                Front and rear (rotor diameter) – 14.29"
       the rear axle shafts together so they turn at the same speed, which helps maximize your                                             Stabilizer bar – Standard                       Wheels
                                                                                                                                          Rear Suspension                                  Steel or aluminum
       gripping power. Go further in a Super Duty ® 4x4.
                                                                                                                                          Solid axle                                       Size – 17," 18" or 20" (F-250/F-350); 17" (F-450)
                                                                                                                                          Axle (rating @ ground) –                         Number of studs – 8
       Off-road confidence. Hill Descent Control™2 helps maintain            Real-time feedback. Our class-exclusive off-road             6,200 lbs. (F-250); 7,280 lbs. (F-350 SRW);     Bolt-circle diameter – 6.69" (170-mm) SRW;
       the truck’s speed on steep declines, so you can concentrate           display monitors the truck’s pitch angle, bank angle          9,650 lbs. (F-350 DRW/F-450)                    7.87" (200-mm) F-350 DRW/F-450
       on maneuvering. This class-exclusive feature is included in the       and wheel direction to help you negotiate challenging         Springs – Leaf
       FX4 Off-Road Package, along with transfer case and fuel tank          situations in 4x4 LOW. It’s included with the LCD
       skid plates, Rancho® shocks and box-side decals.                      productivity screen1 on SRW 4x4 models.                       Shock absorbers – 1.38" gas type
                                                                                                                                           Stabilizer bar – Standard on DRW;
                                                                                                                                           optional in package on SRW




F-350 LARIAT Crew Cab 4x4. Blue Jeans/Sterling Gray two-tone. Chrome Package. Available equipment.
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    Available feature. 2 SRW models only.                                                                                                                                                                               ford.com
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                                                                                                                                                         super duty Specifications
                                                                                                                                                         Standard Features
                                                                                                                                                         Mechanical                                               Exterior
                                                                                                                                                         97,500-mile tune-up interval2 (gas engine)               7-/4-pin trailer tow connector and trailer brake
                                                                                                                                                         Battery saver                                            wiring kit (in-cab; no controller)
                                                                                                                                                         Conventional spare tire/wheel/jack with                  Bumpers – Front and rear step
                                                                                                                                                         underframe carrier (crank-down type)                     Cargo box – Cargo tie-down hooks
                                                                                                                                                         Engine-only traction control (EOTC) (DRW only)           (4 in 6¾' box; 6 in 8' box)
                                                                                                                                                         Fail-Safe Engine Cooling System (gas engine)             Cargo box – Integrated lamp with center
                                                                                                                                                                                                                  high-mounted stop lamp
                                                                                                                                                         Fuel tank – 26-gallon capacity (F-250/F-350 137,"
                                                                                                                                                         142" and 156" WB with diesel engine)                     Cargo box – Partitionable and stackable
                                                                                                                                                                                                                  with stake pockets
                                                                                                                                                         Fuel tank – 35-gallon capacity (gas engine)
                                                                                                                                                                                                                  Dual-beam jewel-effect headlamps
                                                                                                                                                         Fuel tank – 37.5-gallon capacity (F-250/F-350 158"
                                                                                                                                                         and 172" WB with diesel engine, and F-450)               Intelligent 3-blink turn signal
                                                                                                                                                         Power steering                                           Roof clearance lamps (DRW)
                                                                                                                                                         Stabilizer bar – Front                                   Underhood service lamp
                                                                                                                                                         Stabilizer bar – Rear (DRW only)                         Windshield wipers – Intermittent
                                                                                                                                                         Stainless steel exhaust system (major components)        Safety & Security
                                                                                                                                                         Stationary elevated idle control (SEIC)3                 AdvanceTrac® with RSC® (Roll Stability Control™)
                                                                                                                                                         Steering damper                                          (SRW only)
                                                                                                                                                         Tire Pressure Monitoring System                          Airbags4 – Driver and right-front-passenger front
                                                                                                                                                         (SRW only; excludes spare)                               Airbags4 – Front-seat side
                                                                                                                                                         Trailer hitch receiver – 12.5K (2") Built Ford Tough®    Airbags4 – Safety Canopy® System with roll-fold
                                                                                                                                                         (SRW with gas engine; SRW with diesel engine and         side-curtain airbags
                                                                                                                                                         137" and 142" WB)
                                                                                                                                                                                                                  Belt-Minder ® front safety belt reminder
                                                                                                                                                         Trailer hitch receiver – 14K (2.5") Built Ford Tough
                                                                                                                                                         (SRW with diesel engine and 156," 158" and 172" WB)      Brake/shift interlock
                                                                                                                                                         Trailer hitch receiver – 15K (2.5") Built Ford Tough     Brakes – Power 4-wheel vented-disc with Anti-Lock
                                                                                                                                                         (DRW with 156" and 158" WB; DRW with gas engine          Brake System (ABS)
                                                                                                                                                         and 172" WB)                                             Child-safety-seat top tether anchors (Regular Cab
                                                                                                                                                         Trailer hitch receiver – 18.5K (2.5") Built Ford Tough   front passenger and all rear-seat positions)
                                                                                                                                                         (F-350 DRW with diesel engine and 172" WB; F-450)        Fuel pump inertia shutoff switch
                                                                                                                                                         Trailer hitch receiver – 2" sleeve reducer (vehicles     Headlamps-on, key-in-ignition and door ajar
F-250 XL Crew Cab in Oxford White customized       Exterior                         Interior                        Electronics                          with 2.5" receiver)                                      alert chimes
with 5" black step bars, fog lamps, smoked         Exhaust tip                      Ash cup/coin holders            Crew Chief ™ powered                                                                          Passenger airbag deactivation switch
hood and side window deflectors, heavy-duty                                                                         by Telogis®1
                                                                                                                                                         Interior                                                 (Regular Cab, SuperCab)
                                                   Hitch-mounted bike carriers1     Cargo organizers
splash guards, commercial-grade tool/cargo
                                                                                    and protectors                  Keyless entry keypad
                                                                                                                                                         Assist and ride handles                                  Safety belts – Energy-management retractors
box by Delta,®1 and Ford Commercial Graphics       Hood protector1
                                                                                    Carpeted floor mats             Portable DVD rear-seat
                                                                                                                                                         Coat hooks – 1 (Regular Cab); 2 in rear of cab           at front-outboard positions
by 3M Original Wraps 1                             Splash guards                                                                                         (SuperCab and Crew Cab)
                                                                                    Leather-trimmed                 entertainment systems1                                                                        Safety belts – Height-adjustable
5th-wheel hitch kits (18K, 25K)                    Sportz® tents1                                                                                        Dome light (front and rear with Crew Cab)                at front-outboard positions
                                                                                    interior seating1               Remote Access
                                                   Stainless steel wheel covers1                                                                         Overhead console with garage door opener storage         SecuriLock® Passive Anti-Theft System
All-weather floor mats                                                              Protective seat covers1         Speed control
                                                   Step bars                                                                                             and sunglasses storage (SuperCab and Crew Cab)           Side-intrusion door beams
                                                                                                                    Vehicle security systems
                                                   Trailer towing accessories       Bed Products                                                         Powerpoints – 12-volt, 2 on instrument panel
Remote start systems                                                                                                Warning sensor systems1                                                                       SOS Post-Crash Alert System™
                                                   Wheel lock kit                   Bed extenders, mats                                                  Windows – Flip-open rear quarter (SuperCab)
                                                                                    and liners
                                                                                                                                                                                                                  Spare tire/wheel lock
Wheel-well liners
                                                                                    Cable lock1
                                                                                    Retractable stake
                                                                                    pocket tie-downs1
                                                                                    Tonneau covers1




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                                                                         Ford Licensed Accessory. 2 Under normal driving conditions with routine fluid
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                                  accessories.ford.com                   4
                                                                           Always wear your safety belt and follow airbag warning label instructions.                                                                                        ford.com
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                                                                                                                                                                          18" argent-painted steel wheels – 4 (F-350 SRW)        Available Packages
                                                                                                                                                                          Stainless steel wheel covers                           XL Appearance Package3 (n/a with XL Value
                                                                                                                                                                          (requires 17" argent-painted steel DRW wheels)2        Package) includes AM/FM stereo/single-CD
                                                                                                                                                                          LT245/75R17 all-terrain BSW tires – 5                  player with MP3 capability, digital clock, 4 speakers,
                                                                                                                                                                                                                                 cruise control, 17" argent-painted steel wheels
                                                                                                                                                                          LT265/70R17 all-terrain OWL tires – 4                  with bright center caps (SRW only), chrome grille
                                                                                                                                                                          (F-250/F-350 SRW)                                      surround, and chrome bumpers
                                                                                                                                                                          LT275/65R18 all-season BSW tires – 5 (F-350 SRW)       XL Value Package (n/a with XL Appearance
                                                                                                                                                                          LT275/70R18 all-terrain BSW tires – 4                  Package) includes AM/FM stereo/single-CD player
                                                                                                                                                                          (F-350 SRW 4x4)                                        with MP3 capability, digital clock, 4 speakers, cruise
                                                                                                                                                                                                                                 control, 17" argent-painted steel wheels with
                                                                                                                                                                          Seating                                                bright center caps (SRW only), and chrome bumpers
                                                                                                                                                                          40/20/40 split cloth front seat with armrest,          5th-Wheel/Gooseneck Trailer Tow Prep
                                                                                                                                                                          cupholders and storage                                 Package includes 1 under-bed-frame crossmember,
                                                                                                                                                                          40/mini-console/40 front bucket seats                  5 pickup bed 5th-wheel/gooseneck attachment
                                                                                                                                                                          (HD vinyl or cloth)                                    points and close-out plugs, and an integrated
                                                                                                                                                                                                                                 7-pin connector on the driver’s side pickup bed wall
                                                                                                                                                                          Interior                                               9,900-lb. GVWR Package (F-250)
 F-250 XL Regular Cab 4x2. Sterling Gray. XL Appearance Package.                    XL Regular Cab. Steel HD vinyl trim. XL Appearance Package.                           Ford SYNC® voice-activated, in-vehicle connectivity    10,000-lb. GVWR Package (F-350 SRW)
 Available equipment.                                                               Available equipment.                                                                  system with SYNC AppLink™ (requires XL Value           11,400-lb. GVWR Package (F-350 SRW 4x4
                                                                                                                                                                          Package or XL Appearance Package, and steering         and F-350 SRW SuperCab/Crew Cab 4x2 with
                                                                                                                                                                          wheel-mounted audio controls)                          8' box; requires 18" wheels and diesel engine)
 Includes all standard features, plus:                   Message center – Multifunction plus trip computer       Available Options                                        Rapid-heat supplemental cab heater                     Camper Package includes front springs upgrade
                                                         includes odometer, trip odometer, engine oil                                                                     (requires diesel engine and alternator upgrade)        (unless maximum springs have been computer-
 Mechanical                                              monitor, engine-hour meter, engine-idle meter           Mechanical                                               Remote Start System                                    selected as included equipment), rear stabilizer
 6.2L SOHC 2-valve Gas V8 Flex Fuel E85-capable          (gas engine only), distance to empty, average           6.7L Power Stroke V8 Turbo Diesel B20-capable            (requires Power Equipment Group)                       bar (SRW), slide-in-camper certification and
 engine (n/a on F-450)                                   fuel economy, warning messages, system check,           engine (standard on F-450)                               Steering wheel-mounted audio controls                  auxiliary rear springs on F-250 (restrictions apply)
 6.7L Power Stroke® V8 Turbo Diesel B20-capable          language selection and Ice Blue® Lighting               Electronic shift-on-the-fly (ESOF) 4-Wheel-Drive         (requires SYNC)                                        CNG/LPG Gaseous Engine Prep Package
 engine (standard on F-450)                              Mirror – Manual day/night rearview                      System with auto/manual locking hubs                     Upfitter switches located on instrument panel (4)      includes hardened engine intake valves and valve
 TorqShift® heavy-duty 6-speed SelectShift®              MyKey ®                                                 (4x4 models only)                                                                                               seats and bi-fuel manifold (F-250/F-350 with
 automatic transmission                                                                                          5th-wheel hitch kit (requires 8' box; includes           Exterior                                               gas engine only)
                                                         Steering column – Manual tilt/telescoping
 Alternator – 157-amp heavy-duty                                                                                 18K hitch on SRW or 25K hitch on DRW)1                   Bed mat (restrictions apply)                           FX4 Off-Road Package includes transfer case
                                                         Steering wheel – Black urethane with 3-button                                                                                                                           and fuel tank skid plates, Hill Descent Control™
 Hill start assist                                       message center controls                                 Gooseneck hitch kit1                                     Bedliner – Plastic drop-in                             (SRW only), Rancho® shocks and FX4 Off-Road
 Integrated trailer brake controller (DRW)               Visors with passenger mirror                            Alternator – Single, 200-amp extra-heavy-duty            Bedliner – Tough Bed® spray-in includes tailgate       box decals (restrictions apply)
 Manual 4-Wheel-Drive System with manual                 Window – Rear, fixed-glass                              Alternators – Dual, 357-amp total (diesel engine only)   guard and black bed bolts                              Heavy-Service Front Suspension Package
 locking hubs (4x4 models only)                          Windows – Manual                                        Engine block heater                                      Cab steps – 6" angular black molded                    includes front springs upgrade (unless maximum
 Trailer sway control                                                                                            (standard in 15 cold-weather states)                     (standard on DRW)                                      springs have been computer-selected as included
                                                         Exterior                                                Integrated trailer brake controller                      Cable Lock by Master Lock®2                            equipment; restrictions apply)
 17" argent-painted steel wheels (F-250/F-350)
                                                         Bumpers – Black-painted with grained top cover          (standard on F-350 DRW/F-450)                            Crew Chief™ powered by Telogis®2 – Fleet tracking      Power Equipment Group includes power door
 17" polished forged-aluminum wheels (F-450)                                                                                                                                                                                     locks and front windows (plus rear on Crew Cab)
                                                         Cab steps – 6" angular black molded (DRW only)          Operator-commanded exhaust filter regeneration           system (includes 1 year of Crew Chief service)
 LT245/75R17 all-season BSW tires                                                                                (diesel engine only)                                                                                            with front one-touch-down feature; manually
                                                         Cargo box – Black box top and tailgate moldings                                                                  Exterior backup alarm2                                 telescoping trailer tow mirrors with 2-way fold,
 Seating                                                                                                         Power take-off (PTO) provision allows                    Pickup box delete (F-250/F-350 only; requires 8'       power/heated glass, heated manual spotter
                                                         Door handles – Black                                    transmission-mounted live-drive and stationary
 40/20/40 split front seat with armrest,                                                                                                                                  box; n/a with 20" wheels or FX4 Off-Road Package)      mirrors, and integrated clearance lamps and turn
                                                         Glass – Solar-tinted                                    modes (diesel engine only)                                                                                      signal indicators; accessory delay; Remote Keyless
 cupholders and storage                                                                                                                                                   Roof clearance lamps (standard on DRW)
                                                         Grille – Black                                          Rear axle – Electronic-locking                                                                                  Entry System with 2 integrated keyhead transmitter
 60/40 split flip-up rear seat (SuperCab only)                                                                   (F-250/F-350 SRW only)                                   Skid plates – Transfer case and fuel tank (4x4 only)   remotes; and anti-theft perimeter alarm
                                                         Mirrors – Manually telescoping trailer tow
 60/40 split flip-up/fold-down rear bench seat           with 2-way fold and manual glass                        Rear axle – Limited-slip                                 Soft roll-up tonneau cover 2                           Snow Plow Prep Package includes computer-
 with outboard and center head restraints                                                                        (F-350 DRW only; standard on F-450)                      Splash guards                                          selected springs for snow plow application and
 (Crew Cab only)                                         Quick-release tailgate with tailgate assist and lock
                                                                                                                 17" 6-spoke cast-aluminum wheels – 4                     (front and rear on SRW; rear only on DRW)              extra-heavy-duty alternator with diesel engine
 HD vinyl seats                                          Tow hooks – Black, 2 in front                                                                                                                                           only (4x4 only; restrictions apply)
                                                                                                                 (F-250/F-350 SRW)                                        Tailgate step includes step, tailgate assist
 Lumbar support for driver’s seat                                                                                17" polished forged-aluminum wheels – 4                  and grab bar
                                                                                                                 (F-350 DRW)                                              Wheel-well liners (SRW only)
 Interior
 AM/FM stereo with digital clock and 2 speakers
 Air conditioning
 Climate controls – Manual
 Door locks – Manual
 Flooring – Black vinyl




 Requires 5th-Wheel/Gooseneck Trailer Tow Prep
1                                                                             Argent-Painted Steel             17" Argent-Painted Steel           17" Argent-Painted Steel           17" Argent-Painted Steel      17" Polished Forged-Aluminum         17" 6-Spoke Cast-Aluminum
 Package. See your dealer for details. 2 Ford Licensed                     17" Standard: F-250/F-350 SRW          w/Bright Center Cap          Standard: F-350 DRW                     w/Stainless Steel Cover            Standard: F-450 DRW            Optional: F-250/F-350 SRW
 Accessory. See your dealer for limited warranty                               18" Optional: F-350 SRW                         I
                                                                                                                               nformat
                                                                                                                Included: F-250/F-350 ionPr
                                                                                                                                      SRW ovi
                                                                                                                                            dedby:                                      Optional: F-350 DRW               Optional: F-350 DRW
 details. 3 Late availability.                                                                                       w/Value Package
                                                                                                                  or Appearance Package
 XLT                                                              Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 47 of 54
                                                                                                                                                                  Interior                                               Available Packages
                                                                                                                                                                  SiriusXM Satellite Radio with 6-month                  XLT Interior Package includes 6-way
                                                                                                                                                                  trial subscription                                     power driver’s seat, power-adjustable pedals,
                                                                                                                                                                  Flooring – Black all-weather floor mats                autolamp/rainlamp, autolock/unlock and
                                                                                                                                                                  (deletes carpeted floor mats)                          SecuriCode™ keyless entry keypad
                                                                                                                                                                  Rapid-heat supplemental cab heater                     XLT Value Package includes XLT Interior Package,
                                                                                                                                                                  (requires diesel engine and alternator upgrade)        LCD productivity screen, auto-dimming rearview
                                                                                                                                                                                                                         mirror, Reverse Sensing System and fog lamps
                                                                                                                                                                  Rear view camera (requires XLT Interior Package,
                                                                                                                                                                  XLT Value Package or XLT Premium Package)              XLT Premium Package includes XLT Interior
                                                                                                                                                                                                                         Package, chrome exhaust tip, chrome tow hooks,
                                                                                                                                                                  Remote Start System                                    unique chrome mirror caps, chrome cargo tie-down
                                                                                                                                                                  Upfitter switches located on instrument panel (4)      hooks, 6" chrome angular cab steps, 18" chrome-
                                                                                                                                                                  Window – Rear, manual-sliding with privacy glass       clad aluminum wheels with LT275/65R18 all-season
                                                                                                                                                                  (Regular Cab only)                                     BSW tires (on SRW only), LCD productivity screen,
                                                                                                                                                                                                                         auto-dimming rearview mirror, compass, fog lamps
                                                                                                                                                                  Window – Rear, power-sliding with privacy glass        and steering wheel-mounted audio controls
                                                                                                                                                                  and defroster (SuperCab and Crew Cab only)             (requires PowerScope mirrors; SuperCab and
                                                                                                                                                                                                                         Crew Cab only)
                                                                                                                                                                  Exterior
                                                                                                                                                                                                                         5th-Wheel/Gooseneck Trailer Tow Prep
 F-350 XLT Crew Cab 4x4. Ingot Silver. XLT Premium Package.                      XLT Crew Cab. Steel cloth trim. Flow-through center console.                     Bed mat (restrictions apply)                           Package includes 1 under-bed-frame crossmember,
 Available equipment.                                                            Available equipment.                                                             Bedliner – Plastic drop-in                             5 pickup bed 5th-wheel/gooseneck attachment
                                                                                                                                                                  Bedliner – Tough Bed® spray-in includes tailgate       points and close-out plugs, and an integrated
                                                                                                                                                                  guard and black bed bolts                              7-pin connector on the driver’s side pickup bed
 Includes all XL features, plus:                     Exterior                                               Power take-off (PTO) provision allows                                                                        wall (n/a with stowable bed extender)
                                                                                                            transmission-mounted       live-drive and  stationary Body-color bodyside moldings
 Mechanical                                          Anti-theft perimeter alarm                                                                                   (SRW SuperCab and Crew Cab only)                       9,900-lb. GVWR Package (F-250)
                                                                                                            modes (diesel engine only)
 Integrated trailer brake controller (SRW)           Bumpers    – Chrome   with  grained  top cover                                                               Cab steps – 6" angular black molded                    10,000-lb. GVWR Package (F-350 SRW)
                                                                                                            Rear axle – Electronic-locking
 17" 6-spoke cast-aluminum wheels (SRW)              Glass – Privacy (rear doors and rear window)           (F-250/F-350 SRW only)                                (standard on DRW)                                      11,400-lb. GVWR Package (F-350 SRW 4x4
                                                     Grille – Chrome                                                                                              Cab steps – 5" chrome tubular                          and F-350 SRW SuperCab/Crew Cab 4x2 with
                                                                                                            Rear axle – Limited-slip                                                                                     8' box; requires 18" wheels and diesel engine)
 Seating                                             Mirrors – Manually telescoping trailer tow with        (F-350 DRW; standard on F-450)                        (SuperCab and Crew Cab only)
 4-way adjustable driver and right-front-passenger 2-way fold, power/heated glass, heated manual 17" polished forged-aluminum wheels – 4                          Cable Lock by Master Lock®2                            Camper Package includes front springs upgrade
 head restraints                                     spotter mirrors, and integrated clearance lamps                                                                                                                     (unless maximum springs have been computer-
                                                                                                            (F-350 DRW)                                           Crew Chief™ powered by Telogis®2 – Fleet tracking      selected as included equipment), rear stabilizer
 40/20/40 split front seat with center under-seat and turn signal indicators                                18" cast-aluminum wheels – 4 (F-250/F-350 SRW) system (includes 1 year of Crew Chief service)                bar (SRW), slide-in-camper certification and
 lockable storage with 12-volt powerpoint and        Remote Keyless Entry System with 2 integrated                                                                Exterior backup alarm 2                                auxiliary rear springs on F-250 (restrictions apply)
 center armrest with cupholders and storage          keyhead transmitter remotes                            Stainless steel wheel covers
                                                                                                            (requires 17" argent-painted steel DRW wheels)2 Mirrors – PowerScope® power-telescoping/-folding             CNG/LPG Gaseous Engine Prep Package
 60/40 split flip-up/fold-down rear bench seat                                                                                                                    trailer tow with power/heated glass, heated manual     includes hardened engine intake valves and valve
 with bag hooks, dual integrated cupholders          Available Options                                      LT245/75R17 all-terrain BSW tires – 5
                                                                                                            (F-350 DRW/F-450)                                     spotter mirrors, and integrated clearance lamps        seats and bi-fuel manifold (F-250/F-350 with
 and tray, outboard head restraints, center head                                                                                                                  and turn signal indicators                             gas engine only)
 restraint, and lockable under-seat partitioned      Mechanical                                             LT245/75R17 all-terrain OWL tires – 4
 storage with 12-volt powerpoint (Crew Cab only) 6.7L Power Stroke® V8 Turbo Diesel B20-capable (F-350 DRW/F-450)                                                 Pickup box delete (F-250/F-350 only; requires 8'       FX4 Off-Road Package includes transfer case
                                                     engine  (standard   on  F-450)                                                                               box; n/a with 20" wheels or FX4 Off-Road Package)      and fuel tank skid plates, Hill Descent Control™
 Cloth seats                                                                                                LT265/70R17    all-terrain OWL   tires – 4                                                                   (SRW only), Rancho® shocks and FX4 Off-Road
                                                     Electronic shift-on-the-fly (ESOF) 4-Wheel-Drive (F-250/F-350 SRW)                                           Reverse Sensing System (n/a with pickup box delete)
                                                                                                                                                                                                                         box decals (restrictions apply)
 Interior                                            System with auto/manual locking hubs                   LT275/65R18 all-season BSW tires – 5                  Roof clearance lamps (standard on DRW)
                                                     (4x4 models only)                                                                                                                                                   Heavy-Service Front Suspension Package
 AM/FM stereo/single-CD player with MP3                                                                     (F-250/F-350 SRW)                                     Skid plates – Transfer case and fuel tank (4x4 only)   includes front springs upgrade (unless maximum
 capability, digital clock, 4 speakers and auxiliary 5th-wheel hitch kit (requires 8' box; includes         LT275/70R18 all-terrain BSW tires – 4                 Soft roll-up tonneau cover 2                           springs have been computer-selected as included
 audio input jack                                    18K  hitch on SRW   or  25K hitch on  DRW) 1
                                                                                                            (F-250/F-350 SRW 4x4)                                                                                        equipment; restrictions apply)
                                                                                                                                                                  Splash   guards
 Ford SYNC® voice-activated, in-vehicle              Gooseneck hitch kit   1
                                                                                                            LT275/70R18 all-terrain OWL tires – 4                 (front and rear on SRW; rear only on DRW)              Snow Plow Prep Package includes computer-
 connectivity system with SYNC AppLink™              Alternator – Single, 200-amp extra-heavy-duty          (F-250/F-350 SRW 4x4)                                                                                        selected springs for snow plow application and
                                                                                                                                                                  Stowable bed extender (F-250/F-350 SRW only)
 Accessory delay for power features                  Alternators – Dual, 357-amp total (diesel engine only)                                                                                                              extra-heavy-duty alternator with diesel engine
                                                                                                            Seating                                               Tailgate step includes step, tailgate assist           only (4x4 only; restrictions apply)
 Cruise control                                      Engine block heater                                                                                          and grab bar
 Door locks – Power                                  (standard in 15 cold-weather states)                   40/console/40 front bucket seats with 6-way
                                                                                                            power driver’s seat and flow-through center           Wheel-well liners (SRW only)
 Flooring – Color-coordinated carpet                 Operator-commanded exhaust filter regeneration console with lockable storage, two 12-volt
 Flooring – Color-coordinated carpeted floor mats (diesel engine only)                                      powerpoints and a 110-volt power outlet
 Steering wheel – Black urethane with secondary                                                             (SuperCab and Crew Cab only)
 audio, cruise and 3-button message center controls
 Visors with covered driver and passenger mirrors
 Windows – Power with front
 one-touch-down feature




 Requires 5th-Wheel/Gooseneck Trailer Tow Prep
1                                                                        17" Argent-Painted Steel          17" Argent-Painted Steel  17" Polished Forged-Aluminum         17" 6-Spoke Cast-Aluminum         18" Chrome-Clad Aluminum               18" Cast-Aluminum
 Package. See your dealer for details. 2 Ford Licensed                       Standard: F-350 DRW             w/Stainless Steel
                                                                                                                          I
                                                                                                                          nfor Cover
                                                                                                                               mati
                                                                                                                                  onPr
                                                                                                                                     ovided  by: F-450 DRW
                                                                                                                                           Standard:                       Standard: F-250/F-350 SRW         Included: F-250/F-350 SRW           Optional: F-250/F-350 SRW
 Accessory. See your dealer for limited warranty details.                                                     Optional: F-350 DRW               Optional: F-350 DRW                                              w/Premium Package
  lariat                                                           Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 48 of 54
                                                                                                                                                                   LT275/65R20 all-terrain OWL tires – 4                 Available Packages
                                                                                                                                                                   (F-250/F-350 SRW 4x4)                                 Lariat Interior Package includes easy entry/
                                                                                                                                                                                                                         exit memory, power, heated/cooled driver’s seat;
                                                                                                                                                                    Seating                                              power, heated/cooled front-passenger seat;
                                                                                                                                                                    40/20/40 split leather-trimmed front seats,          memory, power trailer tow mirrors; memory,
                                                                                                                                                                    center under-seat lockable storage with 12-volt      power-adjustable pedals; and Remote Start System
                                                                                                                                                                    powerpoint, and center armrest with cupholders Lariat Ultimate Package includes easy entry/
                                                                                                                                                                    and storage                                          exit memory, power, heated/cooled driver’s seat;
                                                                                                                                                                    Heated rear outboard seats (requires LARIAT          power, heated/cooled front-passenger seat;
                                                                                                                                                                    Interior Package or LARIAT Ultimate Package;         memory, power trailer tow mirrors; memory,
                                                                                                                                                                    Crew Cab only)                                       power-adjustable pedals; power moonroof;
                                                                                                                                                                                                                         Navigation System; tailgate step; and Remote
                                                                                                                                                                    Interior                                             Start System (Crew Cab only; restrictions apply)
                                                                                                                                                                    Navigation System with Premium Sound System 5th-Wheel/Gooseneck Trailer Tow Prep
                                                                                                                                                                    includes HD Radio™ Technology, AM/FM stereo/         Package includes 1 under-bed-frame crossmember,
                                                                                                                                                                    single-CD player with MP3 capability, USB port,      5 pickup bed 5th-wheel/gooseneck attachment
                                                                                                                                                                    in-dash touch screen, voice-activated controls,      points and close-out plugs, and an integrated
                                                                                                                                                                    SiriusXM Traffic and Travel Link capability, digital 7-pin connector on the driver’s side pickup bed
                                                                                                                                                                    clock and 8 speakers with subwoofer                  wall (n/a with stowable bed extender)
  F-450 LARIAT Crew Cab 4x4. White Platinum/Pale Adobe two-tone.                  LARIAT Crew Cab. Charcoal Black leather trim. Available equipment.                Flooring – Black all-weather floor mats              9,900-lb. GVWR Package (F-250)
  Chrome Package. Available equipment.                                                                                                                              (deletes carpeted floor mats)                        10,000-lb. GVWR Package (F-350 SRW)
                                                                                                                                                                    Rapid-heat supplemental cab heater                   11,400-lb. GVWR Package (F-350 SRW 4x4
                                                                                                                                                                    (requires diesel engine)                             and F-350 SRW SuperCab/Crew Cab 4x2 with
  Includes all XLT features, plus:                    Dual-zone electronic automatic temperature control Available Options
                                                                                                                                                                    Remote Start System                                  8' box; requires 18" wheels and diesel engine)
  Mechanical                                          Message   center  – Driver-configurable enhanced       Mechanical
                                                      information center with LCD productivity screen                                                               Universal garage door opener                         Camper Package includes front springs upgrade
  Alternator – 200-amp extra-heavy-duty               includes gauge setup, compass, trip computer,          6.7L Power Stroke® V8 Turbo Diesel B20-capable Upfitter switches located on instrument panel (4) (unless maximum springs have been computer-
  Electronic shift-on-the-fly (ESOF) 4-Wheel-Drive fuel economy and towing/off-road applications, engine (standard on F-450)                                                                                             selected as included equipment), rear stabilizer
  System with auto/manual locking hubs                SelectShift® controls, Ice Blue® Lighting, halo        5th-wheel hitch kit (requires 8' box; includes 18K Exterior                                                 bar (SRW), slide-in-camper certification and
  (4x4 models only)                                   lighting and daytime illumination                      hitch on SRW or 25K hitch on DRW)2                                                                          auxiliary rear springs on F-250 (restrictions apply)
                                                                                                                                                                    Bed mat (restrictions apply)
  17" polished forged-aluminum wheels                 Mirror – Auto-dimming rearview                         Gooseneck hitch kit 2                                                                                       Chrome Package includes chrome exhaust
                                                                                                                                                                    Bedliner – Plastic drop-in                           tip, chrome tow hooks, unique chrome mirror
  (F-350 DRW/F-450)                                   Power-adjustable pedals                                Alternators – Dual, 357-amp total (diesel engine only) Bedliner – Tough Bed® spray-in includes tailgate     caps, chrome cargo tie-down hooks, 6" chrome
  18" bright-machined cast-aluminum wheels (SRW) Power outlet – 110-volt on instrument panel                 Engine block heater                                    guard and black bed bolts                            angular cab steps and 18" chrome-clad aluminum
  LT275/65R18 all-season BSW tires – 5 (SRW)          Rear view camera                                       (standard in 15 cold-weather states)                   Body-color bodyside moldings (SRW only)              wheels with LT275/65R18 all-season BSW tires
                                                                                                             Power take-off (PTO) provision allows                                                                       (on SRW only)
  Seating                                             Steering  wheel  – Color-coordinated  leather-                                                                Cab  steps  – 5" chrome tubular  (standard  on DRW)
                                                      wrapped with secondary audio, cruise and               transmission-mounted        live-drive and  stationary                                                      CNG/LPG Gaseous Engine Prep Package
  40/console/40 front bucket seats and flow-                                                                 modes (diesel engine only)                             Cable Lock by Master Lock®3                          includes hardened engine intake valves and valve
                                                      5-button message center controls
  through center console with lockable storage, two                                                          Rear axle – Electronic-locking                         Crew Chief™ powered by Telogis – Fleet tracking seats and bi-fuel manifold (F-250/F-350 with
                                                                                                                                                                                                       ®3

  12-volt powerpoints and a 110-volt power outlet     Visors with illuminated driver and passenger mirrors                                                          system (includes 1 year of Crew Chief service)       gas engine only)
                                                                                                             (F-250/F-350 SRW only)
  10-way power driver and front-passenger seats       Window – Rear, power-sliding with privacy glass                                                               Exterior backup alarm3                               FX4 Off-Road Package includes transfer case
                                                      and defroster                                          Rear axle – Limited-slip
  Leather-trimmed seats                                                                                      (F-350 DRW; standard on F-450)                         Power-sliding moonroof (Crew Cab only)               and fuel tank skid plates, Hill Descent Control™
                                                      Woodgrain-style instrument panel accents                                                                                                                           (SRW only), Rancho® shocks and FX4 Off-Road
                                                                                                             20" premium cast-aluminum wheels – 4                   Roof clearance lamps (standard on DRW)               box decals (restrictions apply)
  Interior                                            Exterior                                               (F-250/F-350 SRW 4x4 only)                             Skid plates – Transfer case and fuel tank (4x4 only) Heavy-Service Front Suspension Package
  Premium Sound System includes AM/FM stereo/ Autolamp automatic on/off headlamps                            20" chrome-clad aluminum wheels – 4
  single-CD player with MP3 capability, digital clock with rainlamp feature                                                                                         Soft roll-up tonneau cover 3                         includes front springs upgrade (unless maximum
                                                                                                             (requires Chrome Package; F-250/F-350 SRW                                                                   springs have been computer-selected as included
  and 8 speakers with subwoofer (SuperCab only)                                                              4x4  diesel engine   only)                             Splash guards
                                                      Cab steps – 5" chrome tubular (DRW)                                                                           (front and rear on SRW; rear only on DRW)            equipment; restrictions apply)
  Premium Audio System from Sony® includes AM/                                                               LT245/75R17 all-terrain BSW tires – 5
  FM stereo/single-CD player with MP3 capability,     Door handles – Body-color                                                                                     Stowable    bed  extender (F-250/F-350   SRW   only) Snow Plow Prep Package includes computer-
                                                                                                             (F-350 DRW/F-450)                                                                                           selected springs for snow plow application and
  digital clock, and 8 speakers with subwoofer        Fog lamps                                                                                                     Tailgate  step includes step, tailgate assist
  (Crew Cab only)                                                                                            LT245/75R17 all-terrain OWL tires – 4                                                                       extra-heavy-duty alternator with diesel engine
                                                      Mirrors – PowerScope power-telescoping/-
                                                                              ®
                                                                                                             (F-350 DRW/F-450)                                      and  grab  bar                                       only (4x4 only; restrictions apply)
  SYNC with MyFord Touch includes an 8" color
         ®                       ®
                                                      folding trailer tow with  power/heated  glass,                                                                Two-tone lower-accent paint (includes accent-
  LCD touch screen in center stack; dash-top          heated manual spotter mirrors, and integrated          LT275/70R18 all-terrain BSW tires – 4
                                                                                                             (F-250/F-350 SRW 4x4)                                  color wheel-lip moldings on SRW)
  closable storage with media hub (2 USB ports, SD clearance lamps and turn signal indicators
  card reader, audio/video input jacks, and 12-volt                                                          LT275/70R18     all-terrain  OWL  tires – 4            Wheel-well liners (SRW only)
                                                      Reverse Sensing System
  powerpoint); and SYNC Services1                                                                            (F-250/F-350 SRW 4x4)
                                                      SecuriCode™ keyless entry keypad
  SiriusXM Satellite Radio with 6-month
  trial subscription


  SYNC Services varies by trim level and model year and
1

  may require a subscription. Traffic alerts and turn-by-
  turn directions available in select markets. Message
  and data rates may apply. Ford Motor Company
  reserves the right to change or discontinue this product
  service at any time without prior notification or
  incurring any future obligation. 2 Requires 5th-Wheel/
  Gooseneck Trailer Tow Prep Package. See your dealer                                           17" Polished Forged-Aluminum          18" Bright-Machined            18" Chrome-Clad Aluminum           20" Premium Cast-Aluminum             20" Chrome-Clad Aluminum
  for details. 3 Ford Licensed Accessory. See your dealer                                                               I
                                                                                                                        nf
                                                                                                 Standard: F-350 DRW/F-450or
                                                                                                                           mat
                                                                                                                             ionPrCast-Aluminum
                                                                                                                                  ovidedby:                           Included: F-250/F-350 SRW         Optional: F-250/F-350 SRW 4x4        Optional: F-250/F-350 SRW 4x4
  for limited warranty details.                                                                                              Standard: F-250/F-350 SRW                    w/Chrome Package                                                         w/Chrome Package
king ranch®                                                        Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 49 of 54
                                                                                                      Includes all LARIAT features, plus:                 Alternators – Dual, 357-amp total                    Skid plates – Transfer case and fuel tank (4x4 only)
                                                                                                                                                          (diesel engine only)                                 Soft roll-up tonneau cover 2
                                                                                                      Seating
                                                                                                                                                          Engine block heater                                  Splash guards
                                                                                                      Chaparral leather-trimmed seats                     (standard in 15 cold-weather states)
                                                                                                      with “KING RANCH” seat back logo                                                                         (front and rear on SRW; rear only on DRW)
                                                                                                                                                          Power take-off (PTO) provision allows                Stowable bed extender (F-250/F-350 SRW only)
                                                                                                      Easy entry/exit driver’s seat memory feature        transmission-mounted live-drive and stationary
                                                                                                      Heated/cooled driver and front-passenger seats      modes (diesel engine only)                           Tailgate step includes step, tailgate assist
                                                                                                                                                                                                               and grab bar
                                                                                                                                                          Rear axle – Electronic-locking
                                                                                                      Interior                                                                                                 Wheel-well liners (SRW only)
                                                                                                                                                          (F-250/F-350 SRW only)
                                                                                                      Navigation System with HD Radio™ Technology
                                                                                                                                                          Rear axle – Limited-slip                             Available Packages
                                                                                                      Flooring – Color-coordinated carpeted floor mats (F-350 DRW; standard on F-450)
                                                                                                      with King Ranch logo                                                                                     KING RANCH with Chrome Package includes
                                                                                                                                                          20" premium painted cast-aluminum wheels – 4         chrome exhaust tip, chrome tow hooks, unique
                                                                                                      Memory Group includes memory feature for power (F-250/F-350 SRW 4x4 only)                                chrome mirror caps, chrome cargo tie-down hooks,
                                                                                                      trailer tow mirrors, 10-way power driver’s seat,                                                         6" chrome angular cab steps, and 18" chrome-clad
                                                                                                                                                          20" chrome-clad aluminum wheels – 4
                                                                                                      and power-adjustable pedals                                                                              aluminum wheels with LT275/65R18 all-season
                                                                                                                                                          (requires Chrome Package; F-250/F-350 SRW 4x4
                                                                                                      Remote Start System                                 diesel engine only; SuperCab and Crew Cab only)      BSW tires (on SRW only)
                                                                                                      Steering wheel – Chaparral leather-wrapped          LT275/ 70R18 all-terrain BSW tires – 4               5th-Wheel/Gooseneck Trailer Tow Prep
                                                                                                      with secondary audio, cruise and 5-button           (F-250/F-350 SRW 4x4)                                Package includes 1 under-bed-frame crossmember,
                                                                                                      message center controls                                                                                  5 pickup bed 5th-wheel/gooseneck attachment
                                                                                                                                                          LT275/ 70R18 all-terrain OWL tires – 4
                                                                                                      Unique woodgrain-style instrument panel accents (F-250/F-350 SRW 4x4)                                    points and close-out plugs, and an integrated
                                                                                                                                                                                                               7-pin connector on the driver’s side pickup bed
                                                                                                      Universal garage door opener                        LT275/65R20 all-terrain OWL tires – 4                wall (n/a with stowable bed extender)
                                                                                                                                                          (F-250/F-350 SRW 4x4)
                                                                                                      Exterior                                                                                                 9,900-lb. GVWR Package (F-250)
                                                                                                                                                          LT245/75R17 all-terrain BSW tires – 5 (DRW)
                                                                                                      Accent-color wheel-lip moldings (SRW)                                                                    10,000-lb. GVWR Package (F-350 SRW)
                                                                                                                                                          LT245/75R17 all-terrain OWL tires – 4 (DRW)
                                                                                                      Body-color bodyside moldings (SRW)                                                                       11,400-lb. GVWR Package (F-350 SRW 4x4
                                                                                                      Bumpers – Accent-color monochromatic                Seating                                              and F-350 SRW SuperCab/Crew Cab 4x2 with
                                                                                                                                                                                                               8' box; requires 18" wheels and diesel engine)
                                                                                                      Cab steps – Illuminated accent-color platform       Heated rear outboard seats
                                                                                                                                                                                                               Camper Package includes front springs upgrade
                                                                                                      Cargo box – Accent-color box top                                                                         (unless maximum springs have been computer-
                                                                                                                                                          Interior
                                                                                                      and tailgate moldings                                                                                    selected as included equipment), rear stabilizer
                                                                                                                                                          Rapid-heat supplemental cab heater
                                                                                                      Grille – Body-color surround with chrome insert                                                          bar (SRW), slide-in-camper certification and
                                                                                                                                                          (requires diesel engine)
                                                                                                      Mirrors – PowerScope power-telescoping/-folding
                                                                                                                              ®                                                                                auxiliary rear springs on F-250 (restrictions apply)
                                                                                                                                                          Upfitter switches located on instrument panel (4)
                                                                                                      trailer tow with memory, power/heated glass,                                                             CNG/LPG Gaseous Engine Prep Package
                                                                                                      heated manual spotter mirrors, integrated clearance Exterior                                             includes hardened engine intake valves and valve
                                                                                                      lamps and turn signal indicators with body-color                                                         seats and bi-fuel manifold (F-250/F-350 with
                                                                                                      mirror caps                                         Bed mat (restrictions apply)                         gas engine only)
                                                                                                      Two-tone lower-accent paint                         Bedliner – Plastic drop-in                           FX4 Off-Road Package includes transfer case
                                                                                                                                                          Bedliner – Tough Bed® spray-in includes tailgate     and fuel tank skid plates, Hill Descent Control™
F-450 KING RANCH Crew Cab 4x4. Kodiak Brown. Chrome Package. Available equipment.                     Available Options                                   guard and black bed bolts                            (SRW only), Rancho® shocks and FX4 Off-Road
KING RANCH Crew Cab. Chaparral leather trim. Black interior. Available equipment.                                                                         Cable Lock by Master Lock®2                          box decals (restrictions apply)
                                                                                                      Mechanical
                                                                                                                                                          Crew Chief™ powered by Telogis®2 – Fleet tracking    Heavy-Service Front Suspension Package
                                                                                                      6.7L Power Stroke® V8 Turbo Diesel B20-capable                                                           includes front springs upgrade (unless maximum
                                                                                                                                                          system (includes 1 year of Crew Chief service)
                                                                                                      engine (standard on F-450)                                                                               springs have been computer-selected as included
                                                                                                                                                          Exterior backup alarm2
                                                                                                      5th-wheel hitch kit (requires 8' box; includes                                                           equipment; restrictions apply)
                                                                                                      18K hitch on SRW or 25K hitch on DRW)     1         Power-sliding moonroof
                                                                                                                                                                                                               Snow Plow Prep Package includes computer-
                                                                                                      Gooseneck hitch kit   1                             Roof clearance lamps (standard on DRW)               selected springs for snow plow application and
                                                                                                                                                                                                               extra-heavy-duty alternator with diesel engine
                                                                                                                                                                                                               only (4x4 only; restrictions apply)
                                                                                                                                                                                                               Requires 5th-Wheel/Gooseneck Trailer Tow Prep
                                                                                                                                                                                                              1

                                                                                                                                                                                                               Package. See your dealer for details. 2 Ford Licensed
                                                                                                                                                                                                               Accessory. See your dealer for limited warranty details.




17" Polished Forged-Aluminum            18" Bright-Machined              18" Chrome-Clad Aluminum         20" Premium Painted        20" Chrome-Clad Aluminum
 Standard: F-350 DRW/F-450                Cast-Aluminum                   Included: F-250/F-350 SRW         Cast-Aluminum
                                                                                                                  Inf
                                                                                                                    ormationProvi
                                                                                                                                dedby:
                                                                                                                                    Optional: F-250/F-350 SRW 4x4
                                     Standard: F-250/F-350 SRW                w/Chrome Package        Optional: F-250/F-350 SRW 4x4            w/Chrome Package
platinum                                                          Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 50 of 54
                                                                                     Includes all LARIAT features, plus:                 Available Options                                     Available Packages
                                                                                     Mechanical                                          Mechanical                                            5th-Wheel/Gooseneck Trailer Tow Prep
                                                                                                                                                                                               Package includes 1 under-bed-frame crossmember,
                                                                                     20" 7-spoke cast-aluminum wheels                    6.7L Power Stroke® V8 Turbo Diesel B20-capable        5 pickup bed 5th-wheel/gooseneck attachment
                                                                                     with black-painted pockets (SRW)                    engine (standard on F-450)                            points and close-out plugs, and an integrated
                                                                                     LT275/65R20 all-terrain OWL tires (SRW)             5th-wheel hitch kit (requires 8' box; includes        7-pin connector on the driver’s side pickup bed
                                                                                                                                         18K hitch on SRW or 25K hitch on DRW)1                wall (n/a with stowable bed extender)
                                                                                     Seating                                             Gooseneck hitch kit 1                                 9,900-lb. GVWR Package (F-250)
                                                                                     Premium leather-trimmed seats with tuxedo stripe Alternators – Dual, 357-amp total
                                                                                                                                                                                               10,000-lb. GVWR Package (F-350 SRW)
                                                                                     design and “PLATINUM” seat back embroidery          (diesel engine only)                                  11,400-lb. GVWR Package (F-350 SRW 4x4
                                                                                     Easy entry/exit driver’s seat memory feature        Engine block heater                                   and F-350 SRW SuperCab/Crew Cab 4x2 with
                                                                                     Heated/cooled driver and front-passenger seats (standard in 15 cold-weather states)                       8' box; requires 18" wheels and diesel engine)
                                                                                                                                         Power take-off (PTO) provision allows                 Camper Package includes front springs upgrade
                                                                                     Interior
                                                                                                                                         transmission-mounted live-drive and stationary        (unless maximum springs have been computer-
                                                                                     Navigation System with HD Radio™ Technology         modes (diesel engine only)                            selected as included equipment), rear stabilizer
                                                                                     Memory Group includes memory feature for power Rear axle – Electronic-locking                             bar (SRW), slide-in-camper certification and
                                                                                     trailer tow mirrors, 10-way power driver’s seat,    (F-250/F-350 SRW only)                                auxiliary rear springs on F-250 (DRW only on
                                                                                     and adjustable pedals                                                                                     PLATINUM; restrictions apply)
                                                                                                                                         Rear axle – Limited-slip
                                                                                     Remote Start System                                 (F-350 DRW; standard on F-450)                        CNG/LPG Gaseous Engine Prep Package
                                                                                     Steering wheel – Heated, premium leather-wrapped LT245/ 75R17 all-terrain BSW tires – 5 (DRW)             includes hardened engine intake valves and valve
                                                                                     with genuine walnut swirl wood accent, and                                                                seats and bi-fuel manifold (F-250/F-350 with
                                                                                                                                         LT245/ 75R17 all-terrain OWL tires – 4 (DRW)          gas engine only)
                                                                                     secondary audio, cruise and 5-button message
                                                                                     center controls                                     Seating                                               FX4 Off-Road Package includes transfer case
                                                                                     Unique woodgrain-style instrument panel accents Heated rear outboard seats                                and fuel tank skid plates, Hill Descent Control™
                                                                                                                                                                                               (SRW only), Rancho® shocks and FX4 Off-Road
                                                                                     Universal garage door opener                                                                              box decals (restrictions apply)
                                                                                                                                         Interior
                                                                                     Exterior                                                                                                  Heavy-Service Front Suspension Package
                                                                                                                                         Rapid-heat supplemental cab heater
                                                                                                                                                                                               includes front springs upgrade (unless maximum
                                                                                     Body-color bodyside moldings (SRW)                  (requires diesel engine)
                                                                                                                                                                                               springs have been computer-selected as included
                                                                                     Bumpers – Body-color                                Upfitter switches located on instrument panel (4)     equipment; restrictions apply)
                                                                                     Cab steps – 6" chrome angular                                                                             Snow Plow Prep Package includes computer-
                                                                                                                                         Exterior
                                                                                     Cargo box – Chrome cargo tie-down hooks                                                                   selected springs for snow plow application and
                                                                                                                                         Bed mat (restrictions apply)                          extra-heavy-duty alternator with diesel engine
                                                                                     Chrome exhaust tip
                                                                                                                                         Bedliner – Plastic drop-in                            only (4x4 only; restrictions apply)
                                                                                     Door handles – Chrome with body-color bezels
                                                                                                                                         Bedliner – Tough Bed® spray-in includes tailgate      Requires 5th-Wheel/Gooseneck Trailer Tow Prep
                                                                                                                                                                                              1
                                                                                     Grille – Satin-chrome surround                      guard and black bed bolts                             Package. See your dealer for details. 2 Ford Licensed
                                                                                     with bright chrome bars                                                                                   Accessory. See your dealer for limited warranty details.
                                                                                                                                         Cable Lock by Master Lock®2
                                                                                     Mirrors – PowerScope® power-telescoping/-folding
                                                                                     trailer tow with memory, power/heated glass,        Crew  Chief™ powered by Telogis®2 – Fleet tracking
F-350 PLATINUM Crew Cab 4x4. Ruby Red. Available equipment.                          heated manual spotter mirrors, integrated clearance system  (includes 1 year of Crew Chief service)
PLATINUM Crew Cab. Charcoal Black leather trim. Available equipment.                 lamps and turn signal indicators, and chrome        Exterior backup alarm2
                                                                                     mirror caps                                         Power-sliding moonroof
                                                                                     Raised chrome “PLATINUM” box-side lettering         Roof clearance lamps (standard on DRW)
                                                                                     Satin-chrome tailgate appliqué                      Skid plates – Transfer case and fuel tank
                                                                                     Tailgate step includes step, tailgate assist        Soft roll-up tonneau cover 2
                                                                                     and grab bar
                                                                                                                                         Splash guards
                                                                                     Tow hooks – Chrome, 2 in front                      (front and rear on SRW; rear only on DRW)
                                                                                                                                         Stowable bed extender (F-250/F-350 SRW only)
                                                                                                                                         Wheel-well liners (SRW only)




17" Polished Forged-Aluminum             20" 7-Spoke Cast-Aluminum
  Standard: F-350 DRW/F-450               w/Black-Painted Pockets                                  I
                                                                                                   nfor
                                                                                                      mat
                                                                                                        ionPr
                                                                                                            ovi
                                                                                                              dedby:
                                          Standard: F-250/F-350 SRW
Exteriors                                                                                                   interiors
                                                                  Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 51 of 54




                                                                                                                              1 Steel HD Vinyl                                             2 Steel Cloth

     White Platinum Metallic Tri-coat                                            Oxford White




                                                                                                                              3 Adobe Cloth                                                4 Adobe Leather


     Ingot Silver Metallic                                                       Sterling Gray Metallic




                                                                                                                              5 Charcoal Black Leather                                     6 Chaparral Leather




     Pale Adobe Metallic                                                         Vermillion Red



                                                                                                                              7 Pecan Leather                                             8 Charcoal Black Leather




     Ruby Red Metallic Tinted Clearcoat                                          Kodiak Brown Metallic
                                                                                                                              Exteriors                               Two-Tone 	Interiors
                                                                                                                              			                                                    XL        XLT      Lariat	     King Ranch®2          platinum
                                                                                                                              White Platinum Metallic Tri-coat1   		               				 4 5    6  7 8
                                                                                                                              Oxford White                                        1 2 2 3 4 5 6
                                                                                                                              Ingot Silver Metallic		                              1 2 2			 5			 8
                                                                                                                              Sterling Gray Metallic			                             1 2 2			 5
                                                                                                                              Pale Adobe Metallic			                                		 2 3  4 5
     Blue Jeans Metallic                                                         Green Gem Metallic                           Vermillion Red			                                     1 2 2 3 4 5
                                                                                                                              Ruby Red Metallic Tinted Clearcoat1 		               			 3   4 5 6		 8
                                                                                                                              Kodiak Brown Metallic               		               			 3   4 5 6  7 8
                                                                                                                              Blue Jeans Metallic                                 1 2 2 3 4 5 6
                                                                                                                              Green Gem Metallic                                  1 2 2 3 4 5 6
                                                                                                                              Tuxedo Black Metallic                               1 2 2 3 4 5 6  7 8
                                                                                                                              P
                                                                                                                                ale Adobe Two-Tone Accent exterior standard on King Ranch, optional on Lariat
                                                                                                                              S
                                                                                                                                terling Gray Two-Tone Accent exterior optional on Lariat with Charcoal Black Leather interior only
     Tuxedo Black Metallic


 Additional charge. 2 KING RANCH available in Black or Pale Adobe interior environment.                   I
                                                                                                          nfor
                                                                                                             mat
                                                                                                               ionPr
                                                                                                                   ovi
                                                                                                                     dedby:                                                                                     14Super duty
                                                                                                                                                                                                                                      ®
1

 Colors are representative only. See your dealer for actual paint/trim options.                                                                                                                                         ford.com
technical specifications                                    Case 3:19-cv-00398-CLS Document 22 Filed 09/06/19 Page 52 of 54



                           E                                                                                             m
A                                                                                                                             n     o

                           D                                                                                             m
                                        C             J                           K                           L
              B                                                                   F
                                                            G                     H                    I
dimensions
		Regular Cab SuperCab		         Crew Cab                                                                              		Regular Cab SuperCab		         Crew Cab
		lwb            SWB	LWB	 SWB	LWB                                                                                      		lwb            SWB	LWB	 SWB	LWB
Exterior 4x2/4x4 4x2/4x4 4x2/4x4 4x2/4x4 4x2/4x4                                                                       Exterior 4x2/4x4 4x2/4x4 4x2/4x4 4x2/4x4 4x2/4x4
A.   Height – F-250 SRW (w/o options)   76.6"/79.2"   77.0"/79.5"   76.9"/79.3"   77.4"/79.7"   77.3"/79.8"            K.   Ramp breakover angle – F-250 SRW   17.5°/20.4°    16.9°/19.8°   15.8°/18.1°   15.7°/18.1°   15.0°/17.3°
A.   Height – F-350 SRW (w/o options)   76.5"/80.0"   76.9"/80.4"   76.7"/80.2"   77.2"/80.8"   77.2"/80.8"            K.   Ramp breakover angle – F-350 SRW   17.2°/21.5°    16.7°/20.9°   15.6°/19.2°   15.5°/19.2°   14.8°/18.2°
A.   Height – F-350 DRW (w/o options)   76.7"/79.5"   —             76.9"/79.7"   —             77.3"/79.9"            K.   Ramp breakover angle – F-350 DRW   17.5°/20.4°    —             15.9°/18.6°   —             15.0°/17.4°
A.   Height – F-450 DRW (w/o options)   —             —             —             —             79.7"                  K.   Ramp breakover angle – F-450 DRW   —              —             —             —             17.0°
B.   Width – SRW (excl. mirrors)        79.9"         79.9"         79.9"         79.9"         79.9"                  L.   Angle of approach – F-250 SRW      18.0°/19.4°    18.1°/20.1°   18.7°/20.0°   18.7°/20.0°   18.9°/20.6°
B.   Width – DRW (excl. mirrors)        96.0"         —             96.0"         —             96.0"                  L.   Angle of approach – F-350 SRW      18.1°/18.8°    18.2°/19.5°   18.8°/19.3°   18.8°/19.3°   19.0°/20.0°
B.   Width – With mirrors               104.9"        104.9"        104.9"        104.9"        104.9"                 L.   Angle of approach – F-350 DRW      18.2°/19.2°    —             19.0°/20.6°   —             19.1°/20.3°
B.   Width – With mirrors extended      110.0"        110.0"        110.0"        110.0"        110.0"                 L.   Angle of approach – F-450 DRW      —              —             —             —             19.8°
C.   Ground clearance – F-250 SRW       8.5"/8.2"     8.5"/8.2"     8.5"/8.1"     8.5"/8.1"     8.5"/8.1"
                                                                                                                       Interior
C.   Ground clearance – F-350 SRW       8.5"/8.2"     8.5"/8.2"     8.5"/8.2"     8.5"/8.2"     8.5"/8.2"
                                                                                                                       Front head room                         40.7"          40.7"         40.7"         40.7"         40.7"
C.   Ground clearance – F-350 DRW       8.1"/8.0"     —             8.1"/8.0"     —             8.0"/8.0"
                                                                                                                       Front shoulder room                     68.0"          68.0"         68.0"         68.0"         68.0"
C.   Ground clearance – F-450 DRW       —             —             —             —             8.0"
                                                                                                                       Front hip room                          67.6"          67.6"         67.6"         67.6"         67.6"
D.   Load floor height – F-250 SRW      35.2"/36.3"   34.8"/35.6"   34.4"/35.4"   34.2"/35.1"   34.1"/35.0"
                                                                                                                       Front leg room                          41.1"          41.1"         41.1"         41.1"         41.1"
D.   Load floor height – F-350 SRW      34.7"/38.5"   34.4"/37.9"   34.1"/38.0"   33.9"/37.8"   33.8"/37.7"
                                                                                                                       Rear head room                          —              38.1"         38.1"         40.8"         40.8"
D.   Load floor height – F-350 DRW      35.0"/36.4"   —             34.3"/35.7"   —             34.1"/35.6"
                                                                                                                       Rear shoulder room                      —              68.1"         68.1"         68.0"         68.0"
D.   Load floor height – F-450 DRW      —             —             —             —             35.4"
                                                                                                                       Rear hip room                           —              67.3"         67.3"         67.6"         67.6"
E.   Cargo box height                   20.0"         20.0"         20.0"         20.0"         20.0"
                                                                                                                       Rear leg room                           —              31.6"         31.6"         42.1"         42.1"
F.   Length                             227.6"        232.4"        248.6"        246.8"        263.0"
G.   Overhang – Rear                    52.4"         52.4"         52.4"         52.4"         52.4"                  Cargo Box
H.   Wheelbase                          137.0"        141.8"        158.0"        156.2"        172.4"                 Volume (cu. ft.)                        77.3           64.1          77.3          64.1          77.3
I.   Overhang – Front                   38.1"         38.1"         38.1"         38.1"         38.1"                  M. Length at floor                      98.0"          81.8"         98.0"         81.8"         98.0"
J.   Angle of departure – F-250 SRW     17.8°/19.2°   17.4°/18.5°   17.0°/18.3°   16.7°/18.0°   16.7°/17.9°            N. Width at wheelhouse                  50.9"          50.9"         50.9"         50.9"         50.9"
J.   Angle of departure – F-350 SRW     17.3°/21.5°   17.0°/20.9°   16.6°/21.1°   16.4°/20.8°   16.3°/20.8°            O. Width at floor (maximum)             69.3"          69.3"         69.3"         69.3"         69.3"
J.   Angle of departure – F-350 DRW     17.6°/19.3°   —             16.9°/18.7°   —             16.7°/18.5°            SRW = single rear wheel DRW = dual rear wheel
J.   Angle of departure – F-450 DRW     —             —             —             —             18.3°                  SWB = short wheelbase (6¾’ cargo box) LWB = long wheelbase (8’ cargo box)




						                                                    40/20/40                                                           40/mini-console/40      40/console/40           interior storage (cu. ft.)
 Regular Cab SuperCab Crew Cab 6¾' Box Size 8' Box Size split front seat                                                      front bucket seats   front bucket seats
XL                                                                                                                                                                    Front 40/20/40 split seat center under-seat
XLT                                                                                                                                                                   lockable storage – 0.36
Lariat		                                                                                                                                                               Front flow-through center console
                                                                                                                                                                             main bin – 1.23
King Ranch			                                                                                                                                           
                                                                                                                                                                             Rear Crew Cab 60/40 split bench under-seat
platinum			                                                                                                        I
                                                                                                                      nfor
                                                                                                                         mat
                                                                                                                           ionPr
                                                                                                                               ovi
                                                                                                                                 dedby:                                     lockable storage – 1.17                              14Super duty
                                                                                                                                                                                                                                                 ®




 Standard     Optional                                                                                                                                                                                                              ford.com
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Maximum payload Weight Ratings (lbs.)                     Conventional Towing — Maximum Loaded Trailer Weight Ratings (lbs.)
		Regular Cab            SuperCab        Crew Cab          Automatic			Regular Cab					                          SuperCab					Crew Cab
                                                           Transmission														F-250/
         Max. 137.0" 141.8" 158.0" 156.2" 172.4"           			               F-250 F-350 F-350 F-250 F-350 F-350 F-250 F-350 F-350 F-250 F-350 F-350 F-350 F-350 F-250 F-350	f-350	f-450
         GVWR	WB	WB	WB	WB	WB                                      Axle		     SRW	sRW	dRW	SRW	sRW	dRW	sRW	SRW	dRW	sRW	SRW	dRW	sRW	dRW	sRW	sRW	drw	drw
                                                           Engine Ratio GCWR 4x2   4x2   4x2   4x4   4x4   4x4   4x2   4x2   4x2   4x4   4x4   4x4   4x2   4x2   4x4   4x4   4x4   4x4
F-250
SRW 4x2 9,900    4,130   3,760   3,660   3,540   3,440     6.2L   3.73    19,000   12,500   12,500   —        12,500   12,500   —        12,500   12,500   —        12,400   12,300   —        12,500   —        12,200   12,100   —        —
        10,000   4,240   3,860   3,760   3,640   3,540     2-valve		      19,500   —        —        13,100   —        —        12,700   —        —        12,700   —        —        12,300   —        12,500   —        —        12,100   —
                                                           FFV
                                                                  4.30    22,000   12,500   12,500   —        12,500   12,500   —        12,500   12,500   —        12,500   12,500   —        12,500   —        12,500   12,500   —        —
F-250                                                      		             22,500   —        —        15,000   —        —        15,000   —        —        15,000   —        —        15,000   —        15,000   —        —        15,000   —
SRW 4x4 9,900    3,630   3,350   3,250   3,150   3,040
        10,000   3,780   3,450   3,350   3,250   3,140     6.7L V8 3.31   23,500   12,500   12,500   —        12,500   12,500   —        14,000   14,000   —        14,000   14,000   —        14,000   —        14,000   14,000   —        —
                                                           Turbo 3.55     23,500   12,500   12,500   —        12,500   12,500   —        14,000   14,000   —        14,000   14,000   —        14,000   —        14,000   14,000   —        —
F-350                                                      Diesel
SRW 4x2 10,000   4,080   3,790   3,720   3,600   3,470             3.73   30,500   —        —        15,000   —        —        15,000   —        —        15,000   —        —        15,000   —        18,500   —        —        18,500   —
        10,200   —       —       3,920   3,800   —                 4.30   33,000   —        —        —        —        —        —        —        —        —        —        —        —        —        —        —        —        —        18,500
        10,500   4,540   4,250   —       —       3,970
        10,700   —       3,810   —       4,260   —
        10,800   —       —       3,780   3,740   —        5th-wheel Towing — Maximum Loaded Trailer Weight Ratings (lbs.)
        10,900   —       —       4,580   —       —         Automatic			Regular Cab					                          SuperCab					Crew Cab
        11,000   4,390   4,070   —       —       4,430     Transmission														F-250/
        11,100   —       —       —       —       3,870     			               F-250 F-350 F-350 F-250 F-350 F-350 F-250 F-350 F-350 F-250 F-350 F-350 F-350 F-350 F-250 F-350	f-350	f-450
        11,400   —       —       4,330   4,300   4,120            Axle		     SRW	sRW	dRW	SRW	sRW	dRW	sRW	SRW	dRW	sRW	SRW	dRW	sRW	dRW	sRW	sRW	drw	drw
        11,500   —       —       4,430   —       4,220     Engine Ratio GCWR 4x2   4x2   4x2   4x4   4x4   4x4   4x2   4x2   4x2   4x4   4x4   4x4   4x2   4x2   4x4   4x4   4x4   4x4

F-350                                                      6.2L   3.73    19,000   12,900   12,900   —        12,500   12,500   —        12,700   12,600   —        12,300   12,200   —        12,400   —        12,100   12,000   —        —
SRW 4x4 10,000   3,660   3,400   3,310   3,210   3,100     2-valve		      19,500   —        —        13,000   —        —        12,600   —        —        12,600   —        —        12,200   —        12,400   —        —        12,000   —
                                                           FFV
        10,400   4,060   —       —       —       —                4.30    22,000   15,900   15,900   —        15,500   15,500   —        15,700   15,600   —        15,300   15,200   —        15,400   —        15,100   15,000   —        —
        10,500   4,110   3,900   —       —       —         		             22,500   —        —        16,000   —        —        15,600   —        —        15,600   —        —        15,200   —        15,400   —        —        15,000   —
        10,600   —       3,950   —       3,810   —
                                                           6.7L V8 3.31   23,500   16,800   16,700   —        16,400   16,300   —        16,500   16,400   —        16,100   16,100   —        16,300   —        15,900   15,900   —        —
        10,700   —       —       4,010   —       —         Turbo 3.55     23,500   16,800   16,700   —        16,400   16,300   —        16,500   16,400   —        16,100   16,100   —        16,300   —        15,900   15,900   —        —
        10,800   3,810   —       4,070   3,970   3,900     Diesel
                                                                   3.73   30,500   —        —        23,200   —        —        22,900   —        —        22,800   —        —        22,400   —        22,600   —        —        22,200   —
        11,000   3,970   —       4,240   —       4,060
                                                                   4.30   33,000   —        —        —        —        —        —        —        —        —        —        —        —        —        —        —        —        —        24,700
        11,100   4,680   4,420   —       —       —
        11,200   —       3,910   3,770   3,750   4,220
        11,300   4,930   —       3,830   4,440   3,610
        11,400   4,330   4,080   3,900   3,870   3,680
        11,500   4,430   4,180   4,000   3,970   3,780

F-350
DRW 4x2 13,500   7,260   —       —       —       —
        13,900   —       —       7,210   —       —
        14,000   7,060   —       6,560   —       7,080

F-350
DRW 4x4 13,800   7,090   —       —       —       —
        14,000   6,640   —       6,890   —       6,670

F-450
DRW 4x4 14,000   —       —       —       —       5,880
WB = wheelbase




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                                                                                                         quality                      green


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